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                  EXHIBIT 1
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                                        CASE #: 19-2-28930-9 SEA
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7
                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
8                           IN AND FOR THE COUNTY OF KING

9
     PACKAGING CORPORATION OF                      No. 19-2-28930-9 SEA
10   AMERICA,
11                                                 FIRST AMENDED COMPLAINT FOR:
                      Plaintiff,
                                                   (1) PRODUCT LIABILITY –
12          v.                                     NEGLIGENCE;
13   LUNDBERG, LLC f/k/a A.H.                      (2) PRODUCT LIABILITY – STRICT
     LUNDBERG ASSOCIATES, INC. and                 LIABILITY;
14   A.H. LUNDBERG SYSTEMS LTD.,                   (3) NEGLIGENCE;
15                    Defendants.                  (4) BREACH OF IMPLIED WARRANTY –
16                                                 FITNESS FOR A PARTICULAR
                                                   PURPOSE;
17                                                 (5) BREACH OF EXPRESS WARRANTY;
18                                                 (6) FRAUD; AND
19                                                 (7) UNFAIR AND DECEPTIVE BUSINESS
                                                   PRACTICES.
20
21                                                 JURY DEMAND
22                                                 Date Action Filed: October 31, 2019
23

24          Plaintiff Packaging Corporation of America (“PCA”) complains and alleges causes of
25   action against Lundberg, LLC f/k/a A.H. Lundberg Associates (“Lundberg”), Inc. and A.H.
26   Lundberg Systems Ltd. (“LSC”) (collectively, the “Lundberg Defendants”) as follows:
27

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 1                                          INTRODUCTION

 2          1.      For over 50 years the Lundberg Defendants have been considered leading

 3   engineering and system experts for equipment and processes designed specifically for paper and

 4   pulp mills.    An integral aspect of the Lundberg Defendants’ business has been designing,

 5   manufacturing, installing, and maintaining systems that evacuate non-condensable gases that may

 6   be combustible from the paper and pulp mill environment. The Lundberg Defendants share

 7   ownership of certain intellectual property, share operating names and common identifies even if

 8   separate entities, and shared design and manufacturing at points in time.              The Lundberg

 9   Defendants’ systems include ones that transport non-condensable gases that require specific safety

10   devices to be installed to mitigate the risk of flammability and explosion. One of these safety

11   devices is known as a flame arrester, and it is designed to stop the propagation of a flame

12   throughout the system by stopping its transmission from one side of the flame arrester to the other

13   side of the flame arrester. A flame arrester is an integral part of the Lundberg Defendants’ systems

14   and serves as a critical safety device used to stop flames spreading within the system.

15          2.      For many decades, the Lundberg Defendants have been designing, manufacturing,

16   installing, assembling, selling, marketing, and maintaining proprietary design flame arresters for

17   use in these systems (“Lundberg Flame Arresters”). The Lundberg Defendants actively promote

18   on their websites and in marketing materials the installation of the Lundberg Flame Arresters in

19   systems as a critical safety device or safety system component. The Lundberg Defendants have

20   placed hundreds, if not thousands, of Lundberg Flame Arresters into commerce and installed and

21   maintained them at pulp and paper mills across the United States and internationally, including at

22   PCA’s mills.

23          3.      It was recently discovered that contrary to representations and warranties made by

24   the Lundberg Defendants for years, and contrary to the expectations and standards in the industry,

25   the Lundberg Flame Arresters were never tested and were never certified under any applicable

26   standards. This very basic and highly material information was never disclosed by the Lundberg

27   Defendants to the pulp and paper mill industry, despite, for example, Lundberg being present at

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 1   PCA’s paper and pulp mills regularly and working on its systems that include the Lundberg Flame

 2   Arresters for decades. This material information was actively concealed from PCA and the

 3   industry by the Lundberg Defendants. The Lundberg Defendants also actively concealed that the

 4   Lundberg Flame Arresters were designed differently than other flame arresters that were tested

 5   and certified and in use in the industry, and also actively concealed that the Lundberg Flame

 6   Arresters in fact did not prevent the transfer of flame from one side to the other of the purported

 7   safety device. Put bluntly, the Lundberg Defendants concealed that the Lundberg Flame Arresters

 8   did not work. Because it is not apparent from regular usage or on the face of the Lundberg Flame

 9   Arresters, the latent defects in the Lundberg Flame Arresters went undetected by PCA.

10          4.      After discovering that Lundberg Flame Arresters were never tested and were never

11   certified to any applicable standards, in 2018 PCA sent a Lundberg Flame Arrester that it had

12   purchased directly from Lundberg in or around November 2017 for offsite testing by an

13   independent third-party facility. That Lundberg Flame Arrester completely failed to operate as

14   represented—it failed to mitigate any flame passage from one side of the safety device to the other

15   side. At great cost, PCA then removed all Lundberg Flame Arresters from the company’s mills

16   and replaced these critical safety devices with new flame arresters that were designed,

17   manufactured, tested, and certified to applicable standards by parties not involved in this litigation.

18   This replacement program included significant engineering and system work, again done by parties

19   not involved in this litigation because PCA had completely lost confidence in the integrity and

20   capability of Lundberg.

21          5.      Again, at great cost, PCA sent multiple Lundberg Flame Arresters of varying sizes

22   that had been installed at its mills and removed in 2018 for off-site testing by the same leading,

23   independent, third-party testing facility. During testing in 2019, none of the Lundberg Flame

24   Arresters worked as designed, manufactured, and/or marketed by the Lundberg Defendants; none

25   prevented the spread of flame from one side of the device to the other side; none operated as a

26   safety component as represented by the Lundberg Defendants; and none operated as would be

27   expected by PCA and the industry for a critical safety device. Surprisingly, the Lundberg Flame

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 1   Arresters actually accelerated the flame, increasing the velocity and therefore magnitude of an

 2   explosive event.

 3          6.      As specialty engineering and system design firms that hold themselves out as

 4   experts in the pulp and paper mill industry, the Lundberg Defendants have dominated the paper

 5   and pulp mill industry for decades and their products are universally used and generally regarded

 6   as safe and state of the art. But it is now known that at least one of the Lundberg Defendants’

 7   products are untested, defectively designed, uncertified, and completely unable to perform their

 8   intended purpose.

 9          7.      PCA seeks to recover all costs associated with (1) purchasing, installing, and

10   maintaining the Lundberg Defendants’ systems; (2) evaluating and completing engineering and

11   upgrades to the systems designed, manufactured, assembled, installed, marketed, sold, and

12   maintained by the Lundberg Defendants; and (3) testing the Lundberg Flame Arresters for latent

13   defects and replacing the defective Lundberg Flame Arresters. PCA also seeks costs and fees for

14   bringing this action, as well as treble damages due to Lundberg’s fraudulent, unfair, and deceptive

15   business practices.

16                                           THE PARTIES

17          8.      PCA is a publicly traded Delaware corporation with its principal place of business

18   in Lake Forest, Illinois. PCA is a leading manufacturer of paper and pulp products and has

19   business operations in 29 states as well as Canada. In Washington State, PCA operates in four

20   locations: Wallula, Richland, Auburn, and Algona.

21          9.      Lundberg, LLC (“Lundberg”) is headquartered and conducts its principal

22   operations in King County, Washington. With over 80 years of experience, Lundberg was founded

23   and named after Algeria Harvard Lundberg (A.H. Lundberg). Lundberg is a leading engineering

24   and equipment supplier in the pulp and paper industry, wood products industry, and many other

25   process industries. Several of the products at issue in this case were designed, manufactured,

26   assembled, installed, marketed, sold, and/or maintained by Lundberg in the state of Washington.

27   For years, A.H. Lundberg Associates, Inc., founded in the 1950s, jointly owned and operated a

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 1   company with offices in British Columbia, Canada, to serve the Canadian pulp and paper industry,

 2   and that company was known as Lundberg Ahlen Equipment Ltd. In or about 2016, A.H.

 3   Lundberg Associates, Inc. was acquired by Dustex LLC, and a new company operating as

 4   Lundberg, LLC took over all of the operations of the previous company. Lundberg, LLC has as

 5   its sole member Dustex LLC. Dustex LLC has as its sole member Dustex Investment Holdings

 6   LLC. Dustex Investment Holdings LLC has as its sole member Dustex Solutions LLC. Dustex

 7   Solutions LLC has as its sole member Dustex Holdings LLC. Dustex Holdings LLC has as its

 8   members three limited liability companies and an individual; one of the limited liability companies

 9   is Dustex Investment Resources LLC. Dustex Investment Resources LLC has as its members three

10   limited partnerships and a corporation. The corporate member is Dustex (TE) III Blocker

11   Corporation, which is a holding company with no business operations.

12          10.     On information and belief, A.H. Lundberg Systems Ltd. (“LSC”) is a Canadian

13   corporation with its principal place of business in Vancouver, British Columbia, Canada. Founded

14   in the 1950s and jointly owned and operated for decades by its U.S. parent and affiliate A.H.

15   Lundberg Associates, Inc., LSC is a leading engineering company providing environmental

16   systems, energy optimization, chemical handling, and process engineering services to power,

17   resource, and processing industries. The Lundberg Defendants continue to own and share certain

18   intellectual property, and components for the Lundberg Defendants’ systems have been designed

19   and manufactured in Canada by LSC. LSC specifically advertises flame arresters as safety

20   components for installation in its systems to this day. LSC was owned by, was affiliated with,

21   and/or controlled by Lundberg for years, and jointly designed and manufactured equipment and

22   systems for Lundberg for installation in pulp and paper mills across the United States, including

23   on information and belief in Washington State.

24                                   JURISDICTION AND VENUE

25          11.     Subject matter jurisdiction is proper in this Court under RCW 2.08.010.

26          12.     Venue is proper under RCW 4.12.025 because at least one of the defendants resides

27   in King County at the time of the commencement of this action. Specifically, at least one defendant

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 1   transacts business, has an office for the transaction of business, or transacted business at the time

 2   the cause of action arose in King County. At least one defendant did design and engineering work

 3   specially related to the systems and components of the Lundberg Defendants in King County.

 4   Moreover, at least one defendant committed a tort in King County, performed work for PCA in

 5   King County, entered into agreements with PCA in King County, or resides in King County.

 6          13.     Personal jurisdiction over Lundberg is proper in this Court because, at times

 7   relevant to this Complaint, Lundberg was a Washington entity and maintained its principal place

 8   of business in King County, Washington. Lundberg transacts business in Washington State,

 9   committed a tort in Washington State, and/or owns, uses, or possesses property situated in

10   Washington State.

11          14.     Personal jurisdiction over LSC is proper in this Court because LSC is a foreign

12   entity that jointly designed, manufactured, assembled, installed, marketed, sold, and/or maintained

13   components and systems with and for Lundberg, including products at issue in this case, in

14   Washington State.     Moreover, on information and belief, LSC was affiliated with, owned,

15   operated, and/or controlled Lundberg at times relevant to this Complaint. LSC purposefully

16   availed itself to the jurisdiction of this Court through systematic contacts with Washington State

17   related to the defective products at issue in this case. Moreover, LSC has transacted business in

18   Washington State, committed a tort in Washington State, and/or owns, uses, or possesses property

19   situated in Washington State.
                                       FACTUAL BACKGROUND
20
21   I.     PCA HIRED LUNDBERG TO DESIGN, MANUFACTURE, ASSEMBLE, AND INSTALL SYSTEMS
            THAT WERE SAFE AND EFFECTIVE AT THE PCA MILLS.
22
23          15.     PCA is engaged in processing raw materials to manufacture paper, containerboard,

24   and corrugated products. PCA completes the necessary chemical processes at various mills across

25   the country. Pertinent to this lawsuit, PCA manufactures products at mills located in Counce,

26   Tennessee (“Counce Mill”), International Falls, Minnesota (“I’Falls Mill”), Jackson, Alabama

27   (“Jackson Mill”), Valdosta, Georgia (“Valdosta Mill”), and Wallula, Washington (“Wallula

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 1   Mill”). For purposes of this complaint, these mills are collectively referred to as the “PCA Mills.”

 2          16.     The PCA Mills are subject to extensive regulatory oversight, including regulations

 3   pertaining to environmental standards and worker safety.

 4          17.     During the paper and pulp mill manufacturing process, combustible gases, known

 5   as non-condensable gases (“NCG”), are yielded as a byproduct. The NCGs are highly combustible

 6   and must be captured and controlled to comply with environmental regulations.

 7          18.     The Lundberg Defendants engineer, design, manufacture, assemble, market, sell,

 8   install, and maintain critical and complicated systems for the paper and pulp industry, including

 9   systems that evacuate and incinerate the NCGs (“Lundberg System”).

10          19.     The Lundberg Systems are “pollution compliance solutions” and are designed to,

11   among other things, safely transport and remove highly combustible NCGs to effectuate

12   compliance with environmental and worker safety standards.

13          20.     The Lundberg Defendants advertise and hold themselves out as experts in

14   engineering, designing, manufacturing, assembling, installing, and maintaining systems for the

15   paper and pulp industry. For example, Lundberg states on its website, “Lundberg, an LDX

16   Solutions brand, has 80 years of global experience engineering systems that improve operational

17   efficiencies, expand plant capacity, and reduce pollution emissions. Our commitment to the

18   industry and the experience of our staff give us the expertise that our clients have come to rely

19   on.” (See https://lundbergllc.com/). LSC states on its website, “Over the past 60 years, AHL has

20   accumulated tremendous amount of experience servicing the pulp and paper industry. AHL has

21   provided process engineering services and custom designed equipment to most chemical pulp and

22   paper mill and several TMP mills in Canada and the United Stated” (sic).

23          21.     Similar statements are also found in A.H. Lundberg Associates, Inc.’s (the

24   predecessor company to Lundberg, LLC) marketing materials and research white papers. For

25   example, Lundberg published working papers stating that “as the leading process system vendor

26   for environmental compliance systems, A.H. Lundberg Associates, Inc. was instrumental in

27   providing innovative methods for the implementations of these processes and the reduction of

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1    energy costs associated with their operation.” (Exhibit A, “Environmental Projects for the Pulp

2    and Paper Industry in the U.S.A.” at 1.) Lundberg further claims that it “has played a key role in

3    the design and supply of [combustible gas evacuation] systems to U.S. kraft pulp mills” and that

4    its “extensive experience with [combustible gas evacuation] systems has improved [its] knowledge

5    so that [it] may more effectively collect, condition, and transport the [gases] for incineration.”

6    (Exhibit A at 1–2.) Importantly, Lundberg states that “Lundberg Associates’ [combustible gas

7    evacuation] systems are designed with multiple safety features” designed to prevent an explosion

8    from occurring in the system. (Exhibit A at 3.) One such safety feature is the Lundberg Flame

9    Arresters.

10             22.   Numerous paper and pulp mills in the United States utilize Lundberg Systems and

11   rely on the quality and safety of the systems and their component parts to provide safe operations.

12   They also rely on ongoing maintenance, repairs, and improvements by the Lundberg Defendants

13   to the Lundberg Systems because the Lundberg Systems are specially designed for their specific

14   installation and use and are proprietary rather than off-the-shelf systems. The Lundberg Systems

15   include component parts that are designed and installed for safety purposes, and are critical in mill

16   training, policies, and procedures such as boundaries for Process System Management, worker and

17   safety training, and periodic maintenance.

18   II.       THE COMBUSTIBLE NCGS MUST BE TRANSPORTED AND INCINERATED BY SPECIALLY
19             DESIGNED LUNDBERG SYSTEMS.
               23.   An example of one of the Lundberg Systems is a “Non-Condensable Gas System,”
20
     which removes highly combustible NCGs from the paper and pulp manufacturing processes and
21
     transports them to be destroyed in an on-site incinerator. These Lundberg Systems are subject to
22
     environmental and safety standards imposed by governmental agencies. Lundberg Systems are
23
     critical for the safe operation of paper and pulp mills, and the safety of the mill’s workers. The
24
     Lundberg Defendants hold themselves out as, and are generally considered, experts in engineering,
25
     designing, manufacturing, installing, and maintaining Lundberg Systems and their component
26
     parts.
27
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 1          24.     In certain of the PCA Mills, PCA hired Lundberg to design, manufacture, assemble,

 2   and install Lundberg Systems that, among other things, safely processed and removed NCGs from

 3   the PCA Mills. PCA chose Lundberg to design, manufacture, assemble, and install the Lundberg

 4   Systems at the PCA Mills because, since the 1950s, the Lundberg Defendants have been the

 5   industry leader for designing and installing engineered systems, including Lundberg Systems, for

 6   use in paper and pulp mills. The Lundberg Defendants held themselves out as experts and the gold

 7   standard in the industry.

 8          25.     Although an oversimplification, the Lundberg System removes harmful and

 9   dangerous byproducts from the manufacturing processes of the pulp mill system through a series

10   of connected pipes that ultimately lead to an incinerator. The Lundberg System is designed to

11   remove NCGs from the mill unidirectionally, meaning that it is designed to transport all NCGs in

12   the same direction towards the incinerator. The incinerator burns the NCGs consistent with best

13   practices and environmental standards. The Lundberg System’s intended purpose is to collect and

14   dispose of the highly combustible NCGs while simultaneously providing a series of safeguards to

15   prevent an explosion if a flame enters the system.

16          26.     Lundberg has stated that “most importantly, the [Lundberg System] must

17   incorporate safety features which will allow easy operation of the system and yet consider the fact

18   that [NCGs are] hazardous and can cause damage to life or property if not handled properly.”

19   (Exhibit B, “Collection and Incineration of High Volume-Low Concentration Pulp Mill

20   Noncondensible Gases” at 7.)

21          27.     Lundberg recognizes that it is an industry leader in providing engineered systems

22   for the paper and pulp industry. In fact, in recent filings, Lundberg describes itself as “a leading

23   engineering and equipment supplier in the pulp and paper industry, wood products industry, and

24   many other process industries.”

25          28.     Moreover, Lundberg states that it offers “spare parts, inspections, rebuilds, and

26   product improvements for all process systems and equipment within our areas of expertise,

27   including . . . [Lundberg Systems].” (Exhibit C, Lundberg Service and Spare Parts Brochure.)

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 1          29.     The Lundberg Defendants’ products are ubiquitous in the paper and pulp mill

 2   industry and it is possible, if not likely, that a paper and pulp mill employee will spend an entire

 3   career working solely with Lundberg Systems.

 4          30.     Regarding Lundberg Systems, Lundberg has stated:

 5          Lundberg Associates has been instrumental in the design and supply of [Lundberg
 6          Systems] for U.S. mills. Various options and designs were provided in order to suit
            each mill’s particular requirements. Potential incineration locations have included
 7          Lundberg Associates’ direct fired thermal oxidizers with SO2 scrubbing, recovery
            boilers, power boilers, lime kilns, and open flares. Each system was individually
 8          tailored to collect the required sources and to incinerate the gases to meet
            government specifications within three years of implementation of the Cluster
 9
            Rules.
10   (Exhibit A at 1.)
11          31.     PCA is not an expert in designing, manufacturing, assembling, and/or installing
12   Lundberg Systems and thus relied on Lundberg for each aspect of this process, including
13   Lundberg’s representations and warranties made about the integrity, safety, and operation of the
14   Lundberg Systems. PCA relied on Lundberg to update the design and effectiveness of the
15   Lundberg System over the years.
16          32.     Lundberg knew that it was uniquely positioned to make recommendations to PCA
17   regarding the composition of Lundberg Systems and that PCA would be relying on Lundberg’s
18   expertise in designing, manufacturing, assembling, and installing the Lundberg Systems at the
19   PCA Mills for decades.
20          33.     Lundberg also knew that PCA was relying on the Lundberg Defendants to design,
21   manufacture, assemble, and install Lundberg Systems that complied with or exceeded all safety
22   and environmental standards.
23          34.     Lundberg similarly knew that PCA would not have hired Lundberg to design the
24   Lundberg Systems at the PCA Mills if PCA knew that the Lundberg Systems posed undue risks to
25   PCA’s employees and/or manufacturing plants.
26

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 1   III.     THE LUNDBERG FLAME ARRESTERS INCORPORATED INTO THE                   LUNDBERG SYSTEMS
              ARE UNTESTED, UNCERTIFIED, AND UNSAFE.
 2
 3            35.   The NCGs transported in the Lundberg Systems are highly flammable and a flame

 4   in the Lundberg Systems could lead to an explosion. The Lundberg Defendants specifically know

 5   this basic fact, and Lundberg acknowledged in a manual provided to PCA that “[t]he nature of the

 6   noncondensible gases is to be extremely flammable. The design of the [Lundberg System]

 7   includes multiple backup systems to insure the greatest amount of flame safeguards and to

 8   minimize any remotely possible damage.” (Exhibit D, Operating and Maintenance Manual for

 9   the Low Volume High Concentration Non-Condensible Gas Collection and Incineration for PCA’s

10   Valdosta, Georgia Mill (J-895386) at 3.)

11            36.   As part of the Lundberg System, the Lundberg Defendants designed, marketed,

12   sold, installed, serviced, and maintained Lundberg Flame Arresters for PCA and other pulp and

13   paper mills in the industry. Flame arresters are devices installed in a gas piping system, such as a

14   Lundberg System, that are intended to prevent passage of flames through the device in the event

15   that the gas stream is ignited.

16            37.   Given their importance, it is typical for flame arresters to be tested and certified by

17   an independent testing laboratory, such as Underwriters Laboratories (UL) or Factory Mutual

18   (FM). At minimum, a flame arrester should be tested by the manufacturer against a specific

19   standard (e.g., standards set forth by the U.S. Coast Guard, American National Standards Institute,

20   American Society of Mechanical Engineers, etc.) to ensure that it is able to perform its essential

21   function.

22            38.   Lundberg has marketed themselves as the leading designer, manufacturer, and

23   installer of flame arresters in the paper and pulp mill industry with over 850 flame arresters

24   installed throughout the industry. (See Exhibits A and C.)

25            39.   On its website and to the paper and pulp industry, to this day Lundberg holds itself

26   out as industry expert for the Lundberg Systems generally as well as the component part of

27   Lundberg Flame Arresters specifically:

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 1          The collection of [Total Reduced Sulfur compounds] and volatile gases in Non-
            condensible Gas (NCG) and Odor Abatement Systems is an integral part of the pulp
 2          mill’s environmental program. The flammability of many of these gases presents
 3          the possibility of flame propagation in the collection system’s pipe lines. The flame
            arrester is an effective precaution against flame propagation and possible damage
 4          to process equipment. To meet the rigorous standards of our [Lundberg Systems],
            Lundberg developed and supplies a proprietary designed flame arrester. Since
 5          1977, with hundreds of units installed, Lundberg’s Flame Arrester has proven to be
            a reliable and versatile device for system safety and protection.
 6
 7   (See https://lundbergllc.com/wp-content/uploads/gravity_forms/4-

 8   b553dcb80bdfb0137377e7ec5bee4ee1/2018/09/Lundberg-Flame-Arrester.pdf?TB_iframe=true;

 9   see also Exhibit E, Lundberg Flame Arresters Brochure; Exhibit F, A.H. Lundberg Associates,

10   Inc., Flame Arresters Brochure.)

11          40.     The Lundberg Defendants knew that the Lundberg Flame Arresters were a critical

12   component of the “multiple backup systems” and “flame safeguards” described by Lundberg.

13   Lundberg Flame Arresters were incorporated directly into the Lundberg Systems to prevent flame

14   propagation in the event a flame is introduced into these systems.

15          41.     In Lundberg Systems, Lundberg Flame Arresters are integrated in strategic

16   locations and are designed to prevent a flame from spreading from one section of the system to a

17   second section. Flame arresters effectively serve as a firewall to ensure that a flame does not lead

18   to a fire event in the entire system or to an explosion.

19          42.     Flame arresters are integral to the safety of the paper and pulp mill environment

20   because an uncontrolled fire or explosion would put employees’ lives and PCA’s property at risk.

21   Simply put, without functioning flame arresters, many of the systems at a paper and pulp mill

22   would not meet applicable standards, would not pass government inspections, and would not be

23   safe to operate.

24          43.     Indeed, the importance of properly functioning flame arresters is not subject to

25   dispute. Lundberg has stated that “[i]n order to obtain the safe and reliable incineration of the

26   NCG in any incineration point, a number of safety and operational considerations are necessary”

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 1   (emphasis in original). One of these “safety and operational considerations” is the Lundberg Flame

 2   Arresters:

 3          Flame arresters provided in the gas lines at every LVHC NCG source and just
 4          upstream of where the NCG is injected into the incineration equipment will protect
            the LVHC sources and the [Lundberg System] equipment from damage in the
 5          unlikely event of a source of ignition combined with a gas combustibles
            concentration above the [lower flammability limit] and below the [upper
 6          flammability limit].
 7   (Exhibit G, “Alternative Equipment for the Incineration of Noncondensible Gases” at 7.)
 8          44.      Lundberg has clearly stated that Lundberg Flame Arresters must be properly
 9   designed and properly functioning, or the Lundberg System is unsafe:
10
            Even if care is taken to keep the gases outside the explosive range, and care is taken
11          to remove ignition sources, there is still a remote possibility that a fire may occur.
            To minimize any potential damage flame arresters should be installed at critical
12          points. They are designed to prevent the spread of a fire and to minimize pipeline
            and equipment damage. Typically flame arresters should be placed at each LVHC
13          NCG source and at each incineration point.
14   (Exhibit H, “Collecting and Burning Noncondensible Gases” at 6.)
15          45.      Lundberg describes the role of Lundberg Flame Arresters in a Lundberg System as
16   follows: “these flow through devices placed at strategic locations in the system are designed to
17   block the propagation of the flame in the noncondensible gas system. These cylindrical devices
18   have a core of thin gauge stainless steel to serve as the arresting method. The flame arresters are
19   intended to:
20                a. Dissipate the heat of combustion as rapidly as possible by large surface area to act
21                   as a heat sink.
22                b. Disrupt the shock front associated with the flame propagation.”
23   (Exhibit D at 3.)
24          46.      A single Lundberg System will typically have multiple Lundberg Flame Arresters
25   installed at various locations, and it is common for the single Lundberg System to have multiple
26   sized Lundberg Flame Arresters incorporated. Regardless of size, the Lundberg Flame Arresters
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 1   need to be able to prevent flame propagation or they fail their essential purpose and pose a

 2   significant safety risk to the paper and pulp mill and its employees.

 3            47.      PCA hired Lundberg to design, manufacture, assemble, install, and maintain 57

 4   Lundberg Flame Arresters at the PCA Mills, including at mills located in Washington State.

 5            48.      Specifically, PCA hired Lundberg to design, manufacture, assemble, install, and

 6   maintain Lundberg Systems with Lundberg Flame Arresters at the following locations:

 7                  a. Counce Mill – 10 Lundberg Flame Arresters

 8                  b. I’Falls Mill – 13 Lundberg Flame Arresters

 9                  c. Jackson Mill – 2 Lundberg Flame Arresters

10                  d. Valdosta Mill – 20 Lundberg Flame Arresters

11                  e. Wallula Mill – 12 Lundberg Flame Arresters

12            49.      At the PCA Mills, the Lundberg Flame Arresters ranged from a diameter of 2” to

13   20”, but the majority of the Lundberg Flame Arresters at the PCA Mills had diameters of 3”, 4”,

14   or 6”.

15            50.      The Lundberg Flame Arresters are generally composed of two main parts: an

16   external housing and an internal cylindrical device. Exemplary images of both the external

17   housing and internal cylindrical device are set forth below:

18                                                                    Internal Cylindrical Device

19                        External Housing

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 1              51.   The Lundberg Flame Arresters’ external housing is installed directly into the

 2   Lundberg System piping. As demonstrated in the image of the external housing above, the

 3   Lundberg Flame Arresters’ internal cylindrical device is not visible without removing the heavy

 4   external metal housing (the square metal piece adorned with eighteen (18) heavy bolts at the top

 5   of the above image of the external housing) and physically removing the internal cylindrical

 6   device. In order to remove the heavy metal housings and physically remove the internal cylindrical

 7   devices, all manufacturing at the mill must be stopped and the Lundberg System must be taken

 8   offline.

 9              52.   If working as designed, the NCGs pass directly through the Lundberg Flame

10   Arrester’s internal cylindrical device on their way to the incinerator. The internal cylindrical

11   device is non-active unless and until a flame enters the Lundberg System. If a flame enters the

12   Lundberg System, the internal cylindrical device is intended to block the propagation of flame

13   from one section of the Lundberg System to another section of the Lundberg System.

14              53.   Lundberg represented to PCA for decades that Lundberg Flame Arresters were

15   well-designed safety devices, were both safe and effective, met the highest standards in the

16   industry, and would perform their intended purpose: to stop the propagation of flames in the

17   Lundberg Systems, meaning flames would not pass from one side of the Lundberg Flame Arresters

18   to the other side of that critical safety device.

19              54.   Lundberg not only designed, manufactured, sold, and installed Lundberg Flame

20   Arresters for PCA or at PCA Mills for decades, but its staff members were onsite regularly at PCA

21   Mills to review Lundberg Systems, provide maintenance and repairs, to replace component parts,

22   and to update Lundberg Systems. These regular visits and work by Lundberg continued for

23   decades until at least 2018.

24              55.   At no point while onsite did any employee or representative of Lundberg inform

25   PCA that the Lundberg Flame Arresters were unfit for their intended purpose due to latent defects

26   that rendered the Lundberg Flame Arresters useless. At no point did the Lundberg Defendants

27   make any public statements, including online, that the Lundberg Flame Arresters designed,

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 1   manufactured, marketed, sold, and installed at pulp and paper mills across the United States and

 2   Canada were unfit for their intended purpose due to latent defects that rendered the Lundberg

 3   Flame Arresters useless. Rather, the Lundberg Defendants continued to hold themselves out as

 4   experts in designing and engineering systems for the pulp and paper industry and continued to

 5   point to the Lundberg Flame Arresters as critical safety components in their systems. These basic

 6   and material facts were concealed by the Lundberg Defendants from the pulp and paper industry

 7   and from PCA.

 8            56.   At no point while onsite did any employee or representative of Lundberg inform

 9   PCA that the Lundberg Flame Arresters were not certified, had never been tested, and did not meet

10   U.S. and international standards. At no point did the Lundberg Defendants make any public

11   statements, including online, that the Lundberg Flame Arresters were not tested or certified and

12   did not meet U.S. and international standards. These basic and material facts were concealed by

13   the Lundberg Defendants from the pulp and paper industry and from PCA.

14   IV.      PCA LEARNS THAT THE LUNDBERG FLAME ARRESTERS CONTAIN LATENT DEFECTS
              THAT RENDER THEM UNFIT FOR THEIR INTENDED PURPOSE.
15
16            57.   In late 2017, PCA conducted a Process Safety Management review at each of the

17   PCA Mills. The objective of the Process Safety Management review was to, among other things,

18   identify safety risks or hazards present at the PCA Mills.

19            58.   PCA evaluated flammability as a potential hazard. Reviewing safety systems

20   focused on flammability is especially important in the Lundberg Systems because, as Lundberg

21   has stated, “[t]he nature of the noncondensible gases is to be extremely flammable.” (Exhibit D

22   at 3.)

23            59.   PCA began to review and assess whether the Lundberg Flame Arresters that were

24   incorporated into the Lundberg Systems worked properly and effectively. The review was

25   intended to simply confirm that the Lundberg Flame Arresters worked as intended and were able

26   to prevent passage of flames through the device in the event that the gas stream is ignited. This

27   started with a superficial inspection of the Lundberg Flame Arresters, but soon engineers

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 1   recommended a more detailed inspection. In many instances, this type of work would have been

 2   done, or should have been done, by Lundberg in the past years.

 3          60.     When engineers not associated with Lundberg performed a more detailed

 4   inspection, they noted that the Lundberg Flame Arresters had an atypical internal design and that

 5   internal components of the Lundberg Flame Arresters did not appear to be manufactured to

 6   appropriate tolerances (e.g., the gaps were much larger than anticipated). As a result, PCA began

 7   to gather more information on the design, manufacturing, testing, and certification of the Lundberg

 8   Flame Arresters.

 9          61.     As PCA and its consultants began this information-gathering process, PCA was

10   comforted by the fact that hundreds if not thousands of Lundberg Flame Arresters were installed

11   in other paper and pulp mills across the country, and Lundberg generally was an expert engineering

12   and design firm with decades of experience in the industry. PCA knew and had worked for years

13   with Lundberg’s engineers and experts and had a degree of confidence in their systems and work

14   because Lundberg was considered an expert in the industry. PCA did not suspect, and had no

15   reason to suspect, that the Lundberg Systems and Lundberg Flame Arresters were far from what

16   was represented, marketed, and sold to PCA.

17          62.     Out of an abundance of caution, however, PCA requested that Lundberg provide

18   design and manufacturing specifications as well as all certifications for the Lundberg Flame

19   Arresters.   PCA also requested that Lundberg provide information demonstrating that the

20   Lundberg Defendants tested the Flame Arresters to accepted U.S. and international standards

21   before placing them on the market for the stated purpose of mitigating the risk of a flame spreading

22   through a Lundberg System.

23          63.     Lundberg delayed responding initially, and ongoing projects by Lundberg at PCA

24   Mills were jeopardized because of a perceived refusal by Lundberg to provide basic information.

25   Finally, for the first time ever, Lundberg stated that they could not provide such information

26   because they in fact had never tested or certified the Lundberg Flame Arresters to any applicable

27   standards, either internally or externally with a third-party testing facility. Lundberg also refused

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 1   to provide any actual design and manufacturing specifications, and only provided a rough, hand-

 2   drawn schematic and a 1985 article that set forth general engineering techniques for flame

 3   arresters.

 4           64.    Lundberg was ultimately either unable or unwilling to provide any data or

 5   information showing that the Lundberg Flame Arresters were able to perform their intended

 6   purpose. Lundberg thus had no factual basis to state that the Lundberg Flame Arresters are “an

 7   effective precaution against flame propagation and possible damage to process equipment,” and

 8   Lundberg further knew that without any testing or certification that the statement was false.

 9           65.    Lundberg also knew that it had no basis to state that Lundberg Flame Arresters have

10   “proven to be a reliable and versatile device for system safety and protection.” (Exhibits E and F.)

11   That statement is demonstrably false.

12           66.    PCA and many others in the industry relied on the Lundberg Defendants’

13   representations, statements, and warranties when evaluating and making the decision on what

14   engineering firm to hire, what systems to install, and what flame arresters to use in those systems.

15   For decades, the Lundberg Defendants concealed these basic facts—no testing, no certifications

16   and no effort to prove the design of a critical safety device—from PCA and the industry.

17           67.    Simply put, this was the first time PCA learned that the Lundberg Defendants, as

18   experts in the industry, had never tested or certified the Lundberg Flame Arresters to applicable

19   U.S. and international standards, including applicable ISO and U.S. Coast Guard protocols and/or

20   standards.

21           68.    PCA relied on the Lundberg Defendants’ engineering expertise, specific to the

22   paper and pulp mill industry, and several express representations regarding both the efficacy and

23   safety of the Lundberg Systems and the Lundberg Flame Arresters, when evaluating and deciding

24   to hire Lundberg to design, install, maintain, and update systems. PCA relied on these same things

25   when deciding to purchase component parts from Lundberg such as new or replacement Lundberg

26   Flame Arresters, including as recently as November 2017. If PCA had known that the Lundberg

27   Defendants had never tested and certified the Lundberg Flame Arresters to applicable standards,

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 1   it never would have purchased and installed the Lundberg Systems.

 2   V.        PCA HIRED AN INDEPENDENT THIRD-PARTY CERTIFICATION FACILITY TO TEST THE
               LUNDBERG FLAME ARRESTERS. THE TESTING DEMONSTRATED CONCLUSIVELY THAT
 3             THE LUNDBERG FLAME ARRESTERS HAD LATENT DEFECTS AND WERE UNABLE TO
 4             PERFORM THEIR INTENDED PURPOSE.

 5             A.    A Test Lundberg Flame Arrester Failed Independent Third-Party Testing.

 6             69.   In an effort to determine whether the Lundberg Flame Arresters were an effective

 7   safety device, which was required due to their never being tested and certified by the Lundberg

 8   Defendants, PCA hired an independent engineering consulting firm and an independent third-party

 9   testing facility, Aber Shock in Wales, United Kingdom, to test the efficacy of a Lundberg Flame

10   Arrester.

11             70.   Aber Shock is one of the only flame arrester testing and certification facilities in

12   the world. Aber Shock was available to test one Lundberg Flame Arrester in January 2018 (“2018

13   Test”).

14             71.   PCA already had purchased a brand new 6” Lundberg Flame Arrester directly from

15   Lundberg in November 2017 (“6” Test Flame Arrester”).

16             72.   The 6” Test Flame Arrester had never been introduced into a Lundberg System and

17   was brand new at the time of the 2018 Test. Put differently, the 6” Test Flame Arrester was exactly

18   as the Lundberg Defendants had designed, manufactured and sold the product, with no changes or

19   use, and when tested was in the same condition as it was when it was purchased by PCA from

20   Lundberg.

21             73.   The 6” Test Flame Arrester was manufactured by Lundberg in 2017 and was

22   assigned P.O. No. 227024, Project No. J-175728, and Equipment No. 175728-G801-01:

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 1           74.     Aber Shock’s inspection showed that the 6” Test Flame Arrester had more internal

 2   space than anticipated—i.e., an unanticipated gap between the external housing and the internal

 3   cylindrical device. Aber Shock’s inspection also found that there was a larger than anticipated gap

 4   around the 6” Test Flame Arrester’s internal cylindrical device that could allow gases and a flame

 5   to bypass the internal cylindrical device that was in place to provide the heat sink. The internal

 6   cylindrical device also had larger openings than competitors’ designs.

 7           75.     Aber Shock conducted industry approved testing to determine whether the 6” Test

 8   Flame Arrester performed its intended purpose of preventing the proliferation of a flame

 9   introduced into a Lundberg System.

10           76.     In accordance with established testing protocol for flame arresters (ISO 16852

11   section 7.3.2.2), Aber Shock intended to conduct the 2018 Test by subjecting the 6” Test Flame

12   Arrester to a series of tests with each test increasing in intensity.

13           77.     Under this testing protocol, the first test would subject the 6” Test Flame Arrester

14   to the least amount of energy (e.g., the lowest concentration of flammable gas). If the 6” Test

15   Flame Arrester performed as intended, subsequent tests would gradually increase the energy to

16   determine whether the 6” Test Flame Arrester was suitable for the Lundberg Systems: the purpose

17   for which it had been designed, manufactured, and sold to PCA by Lundberg.

18           78.     The independent third-party test that was conducted in accordance with an

19   international testing protocol quickly demonstrated that the 6” Test Flame Arrester was completely

20   ineffective. Indeed, during the first, lowest energy test, a flame easily passed through the 6” Test

21   Flame Arrester.

22           79.     Despite Aber Shock anticipating several rounds of testing, only one test was able

23   to be performed due to the impact that the lowest energy test had on the internal cylindrical device

24   of the 6” Test Flame Arrester. The image below marked (b) shows the damage to the unprotected

25   face of the 6” Test Flame Arrester’s internal cylindrical device immediately after the 2018 Test:

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 7          80.     This failure is exactly contrary to the stated purpose of incorporating the Lundberg

 8   Flame Arresters in the Lundberg Systems and presents a risk of explosion, injury, and death to

 9   anyone working near the Lundberg Systems.

10          81.     Luckily, the PCA Mills never experienced an explosion caused by the Lundberg

11   Flame Arresters. Therefore, it was not until consultants for PCA tested the 6” Test Flame

12   Arrester—in January 2018—that PCA had an opportunity to learn that the Lundberg Flame

13   Arresters were possibly defective and unlikely to prevent the propagation of flames.

14          82.     As confirmed during the 2018 Test at Aber Shock, the 6” Test Flame Arrester failed

15   to provide any protection against flame propagation, failed to serve as a flame arrester, failed to

16   perform as a safety device, and failed to serve the basic purpose for which it was designed,

17   manufactured, purchased, and installed. Instead, it accelerated propagation of the flame through

18   the system, which is directly contrary to the intended purpose of the flame arrester.

19          83.     After the independent test results were known, PCA worked diligently to evaluate

20   replacement flame arresters manufactured and produced by other companies, hired a new

21   engineering and design firm to provide effective workarounds and changes in existing systems,

22   and removed all Lundberg Flame Arresters from the PCA Mills.

23          84.     Each of the 57 Lundberg Flame Arresters that had been installed at the PCA Mills

24   were promptly disassembled and removed from the PCA Mills because they had not been

25   designed, manufactured, tested, or certified to U.S. and international standards, simple facts that

26   had been concealed from PCA by Lundberg for decades. And, as a result of the 2018 Test, the

27   Lundberg Flame Arresters also appeared to have latent, internal defects and an inability to

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1    eliminate flame propagation in the Lundberg Systems. PCA did all of this at its own costs, and

2    also took steps to suspend or terminate virtually all work being done at its mills by Lundberg.

3           85.     The process of removing all Lundberg Flame Arresters required the PCA Mills to

4    be intermittently shut down, required new parts to be acquired, and required significant labor costs

5    and time.

6           86.     PCA replaced the Lundberg Flame Arresters with a certified and tested flame

7    arrester designed and manufactured by a non-party.

8           87.     PCA took these steps because the defective, untested, and uncertified Lundberg

9    Flame Arresters posed serious risk to PCA’s property and employees and had to be removed and

10   replaced.

11          B.      The 2019 Test Confirmed That Lundberg Flame Arresters Are Defective.

12          88.     After removing the Lundberg Flame Arresters from the PCA Mills, PCA sent

13   multiple Lundberg Flame Arresters to Aber Shock, the same independent third-party testing

14   facility that conducted the 2018 Test. PCA wanted to validate the 2018 Test, and to test multiple

15   Lundberg Flame Arresters of various sizes that had been in service.

16          89.     Aber Shock conducted this testing in September 2019 (“2019 Test”).

17          90.     Aber Shock conducted the tests in accordance with U.S. Coast Guard testing

18   protocols and standards, under the supervision of PCA and engineers from outside PCA.

19          91.     During the 2019 Test, Lundberg Flame Arresters that were 2”, 4”, and 6” capacity

20   were tested and each and every Lundberg Flame Arrester failed each test. The Lundberg Flame

21   Arresters did absolutely nothing to stop or slow the passage of a flame from one side to another,

22   and flame easily and quickly passed through the internal cylindrical device.

23          92.     Remarkably, the Lundberg Flame Arresters actually increased the velocity and

24   magnitude of flame propagation.

25          93.     The 2019 Test showed that it is more dangerous to install a Lundberg Flame

26   Arrester in a Lundberg System than it is to simply install a straight pipe of the same size. In other

27   words, Lundberg Flame Arresters act as flame accelerators, not flame arresters, and are the exact

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1    opposite in performance and efficacy from a safety device. The results of the testing are stark and

2    demonstrate the unreasonably dangerous nature of the Lundberg Flame Arresters.

3            94.    PCA spent millions of dollars to purchase the Lundberg Systems, to test the

4    Lundberg Flame Arresters that were defective as designed, manufactured, sold, and installed by

5    the Lundberg, to purchase replacements for the defective Lundberg Flame Arresters, and to stop

6    manufacturing to complete the labor needed to install the new certified flame arresters in the

7    Lundberg Systems. All of these costs were brought about by the safety risks posed by the defective

8    Lundberg Systems and concealed by Lundberg. PCA seeks to recover all these costs and fees.

9            95.    PCA reasonably believed that the Lundberg Defendants had designed,

10   manufactured, tested and/or certified the Lundberg Flame Arresters to U.S. and international

11   standards prior to installing them—taking reasonable steps to ensure that the Lundberg Flame

12   Arresters actually worked. Lundberg concealed these material facts from PCA and the industry.

13   If PCA knew that the Lundberg Defendants had never tested and certified the Lundberg Flame

14   Arresters, PCA would not have purchased the Lundberg System from Lundberg.

15           96.    PCA now seeks to recover all costs associated with the Lundberg Defendants’

16   defective products, including the Lundberg Systems and Lundberg Flame Arresters.

17           97.    To the extent any applicable statute of limitation is at issue, it should be tolled due

18   to PCA’s inability to discover the latent defects and Lundberg’s purposeful and fraudulent

19   concealment of both the latent defects and material facts. It would be inequitable to bar PCA from

20   proceeding with this claim given the bad acts of the Lundberg Defendants and the difficulty

21   inherent in discovering and confirming that the Lundberg Flame Arresters are defectively

22   designed, defectively manufactured, unsafe, and unfit for use as expressly and implicitly

23   warranted. This is especially true because the Lundberg Defendants held themselves out as

24   experts—basically the gold standard—in the industry for decades.

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 1                                     FIRST CAUSE OF ACTION
                                     PRODUCT LIABILITY – NEGLIGENCE
 2
 3          98.       PCA realleges and incorporates all prior paragraphs of this Complaint as if fully set
 4   forth herein.
 5          99.       PCA was harmed by the negligence of the Lundberg Defendants in that the
 6   Lundberg Systems and Lundberg Flame Arresters were not reasonably safe as designed.
 7          100.      PCA was harmed by the negligence of the Lundberg Defendants in that the
 8   Lundberg Systems and Lundberg Flame Arresters were not reasonably safe because adequate
 9   warnings or instructions were not provided.
10          101.      The Lundberg Systems and Lundberg Flame Arresters are not reasonably safe as
11   designed because, at the time of manufacture, the likelihood that the Lundberg Systems and
12   Lundberg Flame Arresters would cause PCA harm and the seriousness of the harms facing PCA
13   outweighed the burden on the Lundberg Defendants to design a product that would have prevented
14   those harms.
15          102.      At the time of manufacture, an alternative design was practical, feasible, and
16   already in existence and such alternative design would not encumber the purpose of the Lundberg
17   Systems and Lundberg Flame Arresters. Indeed, best practices for designing and manufacturing
18   NCG evacuation systems (like the Lundberg System) and flame arresters (like the Lundberg Flame
19   Arresters) demonstrate that the Lundberg Defendants’ proprietary design is unreasonably unsafe
20   and defective.
21          103.      Moreover, the Lundberg Systems and Lundberg Flame Arresters are not reasonably
22   safe because adequate warnings were not provided at the time of manufacture. Namely, the
23   Lundberg Defendants did not provide warnings informing PCA that the Lundberg Systems and
24   Lundberg Flame Arresters were ineffective, untested, unsafe, uncertified, and unable to perform
25   their intended purpose.
26          104.      Additionally, the Lundberg Systems and Lundberg Flame Arresters are not
27   reasonably safe because the Lundberg Defendants learned after manufacturing the Lundberg
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 1   Systems and Lundberg Flame Arresters, or should have learned after manufacturing the Lundberg

 2   Systems and Lundberg Flame Arresters, that the Lundberg Systems and Lundberg Flame Arresters

 3   were inherently dangerous and not suitable for installation and use in the PCA Mills.

 4          105.    The Lundberg Defendants had a duty to warn PCA about the danger posed by the

 5   Lundberg Systems and Lundberg Flame Arresters at the time of manufacture, or, alternatively,

 6   subsequent to manufacture.

 7          106.    The Lundberg Defendants failed to provide a warning or instruction to PCA

 8   regarding the inherently dangerous and defective nature of the Lundberg Systems and Lundberg

 9   Flame Arresters.

10          107.    As demonstrated above, the Lundberg Systems and Lundberg Flame Arresters are

11   inherently and unreasonably unsafe and fail to perform their intended purpose.

12          108.    The inherently unsafe nature of the Lundberg Systems and Lundberg Flame

13   Arresters was known, or should have been known, to the Lundberg Defendants before or after the

14   date of manufacture.

15          109.    The Lundberg Defendants should have tested the Lundberg Flame Arresters before

16   installing them in the Lundberg Systems.

17          110.    The Lundberg Defendants should have certified the Lundberg Flame Arresters

18   before installing them in the Lundberg Systems.

19          111.    The Lundberg Defendants’ failure to test the Lundberg Flame Arresters is

20   unreasonable, unsafe, unjustified, and not consistent with engineering duties or best practices.

21          112.    The Lundberg Defendants’ failure to certify the Lundberg Flame Arresters is

22   unreasonable, unsafe, unjustified, and not consistent with engineering duties or best practices.

23          113.    The Lundberg Defendants also should have followed engineering best practices

24   when designing the Lundberg Flame Arresters to ensure that the Lundberg Flame Arresters did

25   not suffer from the aforementioned inherent and latent problems.

26          114.    Nevertheless, the Lundberg Defendants were negligent in designing and/or failing

27   to warn of the risks of the Lundberg Flame Arresters in violation of law.

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 1          115.     The Lundberg Defendants had a duty to act as a reasonable engineering firm when

 2   designing, manufacturing, assembling, installing, marketing, selling, and maintaining the

 3   Lundberg Systems and the Lundberg Flame Arresters.

 4          116.     The Lundberg Defendants breached this duty to PCA by failing to test the Lundberg

 5   Flame Arresters and accordingly failing to recognize and/or disclose that the Lundberg Flame

 6   Arresters were incapable of performing their stated purpose.

 7          117.     PCA justifiably relied on the Lundberg Defendants’ representations, both express

 8   and implied, as well as its stated expertise in the field of engineering for the paper and pulp

 9   industry.

10          118.     PCA was directly and proximately damaged due to the Lundberg Defendants’

11   negligent conduct in an amount to be determined at trial.

12                                  SECOND CAUSE OF ACTION
13                               PRODUCT LIABILITY – STRICT LIABILITY
            119.     PCA realleges and incorporates all prior paragraphs of this Complaint as if fully set
14
     forth herein.
15
            120.     The Lundberg Defendants are strictly liable to PCA because PCA’s harm was
16
     caused by the fact that the Lundberg Systems and Lundberg Flame Arresters were not reasonably
17
     safe in construction and did not conform to Lundberg’s express warranty regarding the Lundberg
18
     Systems and Lundberg Flame Arresters.
19
            121.     The Lundberg Systems and Lundberg Flame Arresters are not safe in construction
20
     because when they left the control of the Lundberg Defendants, the Lundberg Systems and
21
     Lundberg Flame Arresters deviated in some material way from the design specifications or
22
     performance standards of the Lundberg Defendants.
23
            122.     Specifically, despite Lundberg’s statements to the contrary, the Lundberg Systems
24
     and Lundberg Flame Arresters were unsafe and not fit for installation or use in the PCA Mills,
25
     including because the Lundberg Flame Arresters were not effective in acting as a safeguard to
26
     prevent flames from spreading in the Lundberg Systems.
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 1          123.    Similarly, the Lundberg Flame Arresters were not consistent with the performance

 2   standards of the Lundberg Defendants, which, at minimum, required the Lundberg Flame Arresters

 3   to prevent the spread of flames in the Lundberg System and act as a “flame safeguard” in the

 4   Lundberg Systems.

 5          124.    Moreover, the Lundberg System and Lundberg Flame Arresters did not conform to

 6   Lundberg’s express warranty regarding the Lundberg System and Lundberg Flame Arresters.

 7          125.    Specifically, Lundberg stated that the Lundberg Flame Arresters are “an effective

 8   precaution against flame propagation and possible damage to process equipment.”

 9          126.    Lundberg also stated that the Lundberg Flame Arresters have “proven to be a

10   reliable and versatile device for system safety and protection.”

11          127.    Lundberg also stated that the Lundberg Flame Arresters were developed in a

12   proprietary manner to “meet the rigorous standards of” Lundberg Systems.

13          128.    Each of these statements were material to PCA and justifiably relied upon by PCA.

14          129.    Each of these statements were materially false and Lundberg knew, or should have

15   known, that these statements were false. Specifically, among other reasons, the Lundberg should

16   have known that the statements were false due to their failure to test or certify the Lundberg Flame

17   Arresters, a key safety feature of the Lundberg Systems.

18          130.    Lundberg made these materially false statements with the intention of inducing

19   reliance on the part of PCA so that PCA would opt to purchase the Lundberg System and Lundberg

20   Flame Arrester as opposed to a competitor’s product.

21          131.    PCA would not have purchased or utilized the Lundberg System or Lundberg

22   Flame Arresters if PCA knew that the safeguards inherent in the Lundberg Systems and Lundberg

23   Flame Arresters were defective.

24          132.    PCA was harmed by the Lundberg Defendants’ conduct—conduct for which the

25   Lundberg Defendants are strictly liable—in an amount to be determined at trial.

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 1                                     THIRD CAUSE OF ACTION
                                             NEGLIGENCE
 2
 3           133.    PCA realleges and incorporates all prior paragraphs of this Complaint as if fully set
 4   forth herein.
 5           134.    The Lundberg Defendants are expert engineering firms that contract to design,
 6   manufacture, assemble, and install systems, including Lundberg Systems and Lundberg Flame
 7   Arresters, at paper and pulp mills.
 8           135.    As such, the Lundberg Defendants had a duty to design its systems, including the
 9   Lundberg Systems and Lundberg Flame Arresters, with appropriate safeguards sufficient to
10   minimize the risk encountered in transporting and incinerating combustible NCGs.
11           136.    One aspect of this duty was the Lundberg Defendants’ duty to test the Lundberg
12   Systems and Lundberg Flame Arresters prior to representing that they were safe and appropriate
13   for installation and use in the PCA Mills, including Lundberg’s representation that the Lundberg
14   Flame Arresters were an effective safeguard to prevent flame propagation in Lundberg Systems.
15           137.    The Lundberg Defendants’ duties were especially important in this context given
16   that Lundberg knew that PCA was relying on it to design and install a safe and compliant Lundberg
17   System in the PCA Mills and that failure to provide a safe and compliant Lundberg System put
18   employees’ lives and PCA’s property at risk.
19           138.    To address the known risk of combustion in Lundberg Systems, the Lundberg
20   Defendants used a “proprietary design” to manufacture the Lundberg Flame Arresters, specifically
21   noting that the Lundberg Flame Arresters were developed in a proprietary manner to “meet the
22   rigorous standards of [Lundberg Systems].” At a minimum, the “rigorous standards of [Lundberg
23   Systems]” includes safe operation as advertised and marketed by Lundberg.
24           139.    Nevertheless, the Lundberg Defendants breached their duty to PCA by designing,
25   manufacturing, assembling, and installing defective Lundberg Systems with defective Lundberg
26   Flame Arresters.
27   ///
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 1           140.   Both the Lundberg Systems and the Lundberg Flame Arresters had latent defects

 2   that could not be and should not have reasonably been discovered by PCA until third-party testing

 3   demonstrated and confirmed that the Lundberg Systems and Lundberg Flame Arresters were

 4   defective. This did not occur until September 2019.

 5           141.   Further, Lundberg breached its duty to PCA by installing Lundberg Flame Arresters

 6   that had never been tested, had not been certified, and for which the efficacy had not been

 7   confirmed.

 8           142.   The Lundberg Defendants’ breach is especially egregious given that the Lundberg

 9   Flame Arresters are a last line of defense in the Lundberg System and are supposed to prevent

10   property damage and serious injury or death.

11           143.   The Lundberg Defendants’ unsafe and negligent attitude towards the safety of the

12   Lundberg System, including its failure to test the Lundberg Flame Arrester, is the direct and

13   proximate cause of PCA’s injury.

14           144.   Indeed, PCA would not have spent millions of dollars testing and ultimately

15   replacing the Lundberg Systems and Lundberg Flame Arresters had these safety products worked

16   as advertised and marketed.

17           145.   PCA also would not have purchased, installed, or maintained the Lundberg Systems

18   or Lundberg Flame Arresters if it had known that these products contained latent defects.

19           146.   PCA also would not have replaced the defective Lundberg Systems and Lundberg

20   Flame Arresters had they not been defective.

21           147.   PCA could have avoided shutting down the PCA Mills to complete the repair and

22   replacement work had the Lundberg Systems and Lundberg Flame Arresters performed as

23   warranted, advertised, and marketed by Lundberg.

24           148.   PCA was harmed by the Lundberg Defendants’ negligence in the amount of

25   millions of dollars, the exact amount to be determined at trial.

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 1                              FOURTH CAUSE OF ACTION
                BREACH OF IMPLIED WARRANTY – FITNESS FOR A PARTICULAR PURPOSE
 2
 3          149.     PCA realleges and incorporates all prior paragraphs of this Complaint as if fully set
 4   forth herein.
 5          150.     Lundberg knew that PCA hired it to design a safe and effective Lundberg System
 6   at the PCA Mills.
 7          151.     Lundberg also knew that PCA was not an expert in the design, manufacture,
 8   assembly, or installation of Lundberg Systems.
 9          152.     Lundberg knew that PCA was relying on the Lundberg Defendants’ engineering
10   expertise for paper and pulp mills when PCA hired Lundberg to design, manufacture, assemble,
11   and install the Lundberg System and Lundberg Flame Arresters.
12          153.     By virtue of Lundberg stating that the Lundberg Systems and Lundberg Flame
13   Arresters were safe and fit for installation and use in the PCA Mills, including Lundberg’s
14   representation that the Lundberg Flame Arresters were an effective safeguard against flame
15   propagation, PCA justifiable and reasonably believed that Lundberg had a basis to represent that
16   the Lundberg Flame Arresters would prevent flame propagation throughout the Lundberg System.
17          154.     By virtue of Lundberg installing the Lundberg Flame Arresters in the Lundberg
18   System after having repeatedly noted the highly combustible nature of NCG gases, PCA justifiably
19   and reasonably believed that the Lundberg Flame Arresters were safe and fit to be installed and
20   used in the Lundberg Systems.
21          155.     At minimum, PCA justifiably and reasonably believed that the Lundberg
22   Defendants had tested the Lundberg Flame Arresters prior to integrating them as a safeguard in
23   the highly combustible Lundberg System given how many representations Lundberg made
24   regarding the need for Lundberg Systems to incorporate properly operating flame arresters.
25          156.     Nevertheless, the Lundberg Defendants had not tested the Lundberg Flame
26   Arresters, and Lundberg and had no basis to represent that the Lundberg System was safe for use
27   in the PCA Mills.
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 1          157.     Had the Lundberg Defendants tested the Lundberg Flame Arresters, they would

 2   have quickly discovered that the proprietary design utilized by the Lundberg Defendants was

 3   ineffective and actually served to act as a flame accelerator as opposed to a flame arrester.

 4          158.     As a result of the Lundberg Defendants’ unreasonable decision not to test the

 5   Lundberg Flame Arresters, the Lundberg Systems and the Lundberg Flame Arresters were not fit

 6   for their intended purpose of safely transporting and disposing of NCGs at the PCA Mills.

 7          159.     Lundberg knew that PCA was relying on the Lundberg Defendants’ status as an

 8   expert engineering firm when they manufactured, designed, assembled, and installed the defective

 9   Lundberg Flame Arresters in the Lundberg Systems.

10          160.     PCA is not an expert engineering firm and does not design, manufacture, assemble,

11   or install Lundberg Systems. It thus justifiably and reasonably relied on the Lundberg Defendants’

12   expertise and design specifications.

13          161.     PCA had no way of knowing that the Lundberg Flame Arresters were defectively

14   designed until the 2019 Tests were completed.

15          162.     Lundberg’s breach of the implied warranties directly and proximately caused

16   PCA’s injury in an exact amount to be determined at trial.

17                                    FIFTH CAUSE OF ACTION
                                     BREACH OF EXPRESS WARRANTY
18
            163.     PCA realleges and incorporates all prior paragraphs of this Complaint as if fully set
19
     forth herein.
20
            164.     Lundberg expressly warranted that the Lundberg Flame Arresters are “an effective
21
     precaution against flame propagation and possible damage to process equipment.”
22
            165.     Lundberg also stated that the Lundberg Flame Arresters have “proven to be a
23
     reliable and versatile device for system safety and protection.”
24
            166.     Lundberg also stated that the Lundberg Flame Arresters were developed in a
25
     proprietary manner to “meet the rigorous standards of” Lundberg Systems.
26

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 1            167.   These statements were material to PCA and PCA justifiably relied on these

 2   statements made by Lundberg.

 3            168.   PCA would not have hired Lundberg to design, manufacture, assemble, and install

 4   the Lundberg Systems and Lundberg Flame Arresters at the PCA Mills but for the representations

 5   that the Lundberg Systems and Lundberg Flame Arresters were safe and compliant with all

 6   applicable environmental and safety regulations and standards.

 7            169.   These statements made by Lundberg are false as shown by the results of the 2019

 8   Tests.

 9            170.   Moreover, Lundberg had no basis on which to make these statements as they had

10   unreasonably and unjustifiably decided to not test or certify the Lundberg Flame Arresters.

11            171.   Lundberg made express safety-related statements for which it had no basis in order

12   to induce PCA to purchase and install the Lundberg Systems and Lundberg Flame Arresters at the

13   PCA Mills.

14            172.   PCA’s justifiable reliance led it to expose its employees and mills to unrealized

15   danger. It also exposed PCA to millions of dollars in damages, none of which would have occurred

16   but for the unreasonable and unjustifiable misrepresentations made by Lundberg.

17            173.   Lundberg breached express warranties made to PCA.

18            174.   Lundberg’s breach of the express warranties directly and proximately caused

19   PCA’s injury in an exact amount to be determined at trial.

20                                     SIXTH CAUSE OF ACTION
21                                             FRAUD
              175.   PCA realleges and incorporates all prior paragraphs of this Complaint as if fully set
22
     forth herein.
23
              176.   Lundberg knew that the Lundberg Systems transport flammable and highly
24
     combustible NCGs and that “these gases present the possibility of flame propagation in the
25
     collection system’s pipelines.”
26

27   ///

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 1             177.   The Lundberg Flame Arresters were designed and marketed as a safeguard to

 2   minimize the risk of flame propagation in the Lundberg Systems.

 3             178.   Nevertheless, the Lundberg Defendants never tested the efficacy of the Lundberg

 4   Flame Arresters, never had them certified, and had no basis on which to believe that they would

 5   act as a safeguard to prevent flame propagation.

 6             179.   Lundberg thus made false statements of material fact regarding the efficacy of the

 7   Lundberg Flame Arresters. Moreover, Lundberg actively concealed material facts—no testing and

 8   no certification—from PCA.

 9             180.   Specifically, Lundberg stated that the Lundberg Flame Arresters are “an effective

10   precaution against flame propagation and possible damage to process equipment.”

11             181.   Lundberg also stated that the Lundberg Flame Arresters have “proven to be a

12   reliable and versatile device for system safety and protection.”

13             182.   Lundberg also stated that the Lundberg Flame Arresters were developed in a

14   proprietary manner to “meet the rigorous standards of” Lundberg Systems.

15             183.   Lundberg knew that these statements of material fact were false because they never

16   tested or certified the Lundberg Flame Arresters and thus had no basis on which to make such

17   claims.

18             184.   Lundberg made these statements to induce PCA to buy Lundberg Systems and

19   Lundberg Flame Arresters in an effort to make a profit and notwithstanding that it put PCA’s

20   employees at risk of serious injury or death and threatened property damage to PCA’s Mills.

21             185.   Lundberg knew that PCA was relying on the Lundberg Defendants’ engineering

22   expertise and that PCA relied on these and other representations when deciding to hire Lundberg

23   to design, manufacture, install, and assemble the Lundberg Systems and Lundberg Flame Arresters

24   at the PCA Mills.

25             186.   Lundberg also knew that PCA would not have hired Lundberg to design,

26   manufacture, install, and assemble the Lundberg Systems and Lundberg Flame Arresters if PCA

27   knew that the Lundberg Flame Arresters were ineffective and did not prevent flame propagation.

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 1          187.     PCA was directly and proximately damaged by Lundberg’s material and knowing

 2   false statements because it cost PCA millions of dollars to purchase the Lundberg Systems,

 3   maintain the Lundberg Systems, test the Lundberg Flame Arresters, replace the Lundberg Flame

 4   Arresters with work-arounds to incorporate a non-native product into the Lundberg System, and

 5   stop production at the PCA Mills to complete the replacement.

 6          188.     PCA’s injury was directly and proximately caused by the knowingly false

 7   statements of Lundberg.

 8          189.     Lundberg’s fraudulent conduct and fraudulent statements directly and proximately

 9   caused PCA’s injury in an exact amount to be determined at trial.

10                               SEVENTH CAUSE OF ACTION
11                   UNFAIR AND DECEPTIVE BUSINESS PRACTICES (RCW 19.86.020)
            190.     PCA realleges and incorporates all prior paragraphs of this Complaint as if fully set
12
     forth herein.
13
            191.     Pursuant to RCW 19.86.020, Lundberg engaged in unfair methods of competition
14
     and unfair or deceptive acts or practices in the conduct of knowingly selling PCA the defective
15
     Lundberg Systems and Lundberg Flame Arresters with latent defects.
16
            192.     Lundberg held itself out to be an expert engineering firm with a specific emphasis
17
     in the paper and pulp mill industry.
18
            193.     In fact, Lundberg describes itself as “a leading engineering and equipment supplier
19
     in the pulp and paper industry, wood products industry, and many other process industries.”
20
            194.     Lundberg acknowledges that “[t]he nature of the noncondensible gases is to be
21
     extremely flammable. The design of the [Lundberg System] includes multiple backup systems to
22
     insure the greatest amount of flame safeguards and to minimize any remotely possible damage.”
23
            195.     The “backup systems” and “flame safeguards” described by Lundberg include,
24
     among other things, the Lundberg Flame Arresters.
25
            196.     Lundberg describes the role of Lundberg Flame Arresters in a Lundberg System as
26
     follows: “these flow through devices placed at strategic locations in the system are designed to
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 1   block the propagation of the flame in the noncondensible gas system. These cylindrical devices

 2   have a core of thin gauge stainless steel to serve as the arresting method. The flame arresters are

 3   intended to:

 4              a. Dissipate the heat of combustion as rapidly as possible by large surface area to act

 5                  as a heat sink.

 6              b. Disrupt the shock front associated with the flame propagation.”

 7          197.    The Lundberg Flame Arresters are an integral part of the Lundberg System and

 8   without properly functioning Lundberg Flame Arresters the Lundberg System would be unsafe

 9   and not fit for installation in a paper and pulp mill.

10          198.    In fact, in marketing material prepared and disseminated by Lundberg, Lundberg

11   describes the Flame Arresters as follows:

12                  The collection of [Total Reduced Sulfur compounds] and volatile
13                  gases in Noncondensible [sic] Gas (NCG) and Odor Abatement
                    Systems is an integral part of the pulp mill’s environmental
14                  program. The flammability of many of these gases presents the
                    possibility of flame propagation in the collection system’s pipe
15                  lines. The flame arrester is an effective precaution against flame
                    propagation and possible damage to process equipment. To meet
16
                    the rigorous standards of our Lundberg Systems, Lundberg
17                  Associates developed and supplies a proprietary designed flame
                    arrester.
18
                    Since 1977, in more than two hundred installations, the Lundberg
19                  Associates’ Flame Arrester has proven to be a reliable and versatile
                    device for system safety and protection.
20
21          199.    Nevertheless, Lundberg—an expert engineering firm in the paper and pulp mill
22   industry—failed to test the Lundberg Flame Arresters despite acknowledging that the Lundberg
23   Flame Arresters are an integral safeguard for the Lundberg Systems.
24          200.    Had the Lundberg Defendants tested the Lundberg Flame Arresters, they would
25   have known that the Lundberg Flame Arresters do not work and, instead, accelerate flames
26   throughout the Lundberg Systems.
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 1          201.    Lundberg’s false representations regarding the safety and efficacy of the Lundberg

 2   Systems and the Lundberg Flame Arresters constitute a deceptive and unfair business practice.

 3          202.    Lundberg’s reliance on its status as an expert engineering firm to sell Lundberg

 4   Systems without testing the integral safeguards, such as the Lundberg Flame Arresters, is a

 5   deceptive and unfair business practice.

 6          203.    PCA would not have purchased the Lundberg System or Lundberg Flame Arrester

 7   if Lundberg had disclosed that it had not tested the Lundberg Flame Arresters or that the Lundberg

 8   System was unsafe and unfit for installation and use in the PCA Mills.

 9          204.    PCA would not have purchased the Lundberg System or Lundberg Flame Arresters

10   if Lundberg had disclosed that the Lundberg System was unsafe and lacking effective safeguards.

11          205.    PCA would not have purchased the Lundberg System if Lundberg had disclosed

12   that the Lundberg Flame Arresters were not fit for their stated purpose of mitigating the spread of

13   flames throughout the Lundberg System.

14          206.    PCA was harmed by Lundberg’s deceptive and unfair business practices in an

15   amount to be determined at trial. Moreover, pursuant to RCW 19.86.090, PCA seeks treble

16   damages and attorneys’ fees for Lundberg’s unfair and deceptive business practices.

17                                       PRAYER FOR RELIEF

18          WHEREFORE, PCA requests the following relief:

19          A.      All damages associated with purchasing and maintaining the defective Lundberg

20   Systems and Lundberg Flame Arresters, the exact amount to be determined at trial;

21          B.      All damages associated with testing the defective Lundberg Systems and Lundberg

22   Flame Arresters, the exact amount to be determined at trial;

23          C.      All damages associated with replacing the defective Lundberg Flame Arresters, the

24   exact amount to be determined at trial;

25          D.      All damages associated with Lundberg’s fraudulent statements and fraudulent

26   concealment of the defective nature of the Lundberg Systems and Lundberg Flame Arresters;

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 1          E.     All damages associated with Lundberg’s unfair and deceptive business practices,

 2   including treble damages pursuant to RCW 19.86.090;

 3          F.     All attorneys’ fees, court costs, and other associated expenses; and

 4          G.     All other damages deemed suitable by this Court.

 5
 6          Respectfully submitted this 12th day of August, 2020.

 7
                                                    /s/ J. Andrew Howard
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                      EXHIBIT A




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                Environmental Projects for the Pulp and Paper Industry in the U.S.A.



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SUMMARY

U.S. pulp and paper mills have been actively upgrading their environmental systems in order to comply
with new government regulations restricting emissions. These include noncondensible gas collection and
incineration systems, as well as foul condensate treatment systems. A. H. Lundberg Associates, Inc. has
played a key role in implementing these projects. Innovative techniques and processes for minimizing
capital and operating costs have been developed. Such technology includes thermal oxidation of
noncondensible gases in the recovery boiler, reduction in the quantity of collected dilute noncondensible
gases, and efficient heat recovery in steam stripping systems. Methods for reducing natural gas usage in
dedicated incinerators as well as waste heat boilers for heat recovery have also been implemented. The
technology applied in U.S. projects can be utilized as well in Chile.

INTRODUCTION

The United States Environmental Protection Agency (EPA) promulgated their MACT I and MACT III
Cluster Rule regulations in April of 1998 requiring the reduction of Hazardous Air Pollutants (HAPs) in both
air and water emissions. As the leading process system vendor for environmental compliance systems, A.
H. Lundberg Associates, Inc. was instrumental in providing innovative methods for the implementation of
these processes and the reduction of energy costs associated with their operation. Similar process
strategies may be applicable for implementation in Chile.

This paper presents an overview of several of the process systems installed to implement the regulations
in a cost effective manner. Included are discussions of evaporator integrated condensate stripping
systems, waste heat boilers on direct fired thermal oxidizers, methods for reduction in the volume of dilute
gas collection flow, and thermal oxidation of dilute noncondensible gas in recovery boilers.

LOW VOLUME HIGH CONCENTRATION NCG

The MACT I Cluster Rules regulations required collection and disposal of low volume high concentration
noncondensible gases (LVHC NCG) for all kraft pulp mills to be completed by April of 2001. LVHC NCG is
defined by its concentration as being above the upper explosion limit. It contains TRS (Total Reduced
Sulfur) compounds, including hydrogen sulfide, methyl mercaptan, dimethyl sulfide, and dimethyl disulfide,
as well as VOC (Volatile Organic Compounds), particularly turpentine and methanol. Sources of LVHC
NCG include turpentine recovery vents, blow heat recovery vents, evaporator sources, and continuous
digester relief.

Lundberg Associates has been instrumental in the design and supply of LVHC NCG systems for U.S.
mills. Various options and designs were provided in order to suit each mill’s particular requirements.
Potential incineration locations have included Lundberg Associates’ direct fired thermal oxidizers with SO2
scrubbing, recovery boilers, power boilers, lime kilns, and open flares. Each system was individually
tailored to collect the required sources and to incinerate the gases to meet government specifications
within three years of implementation of the Cluster Rules.




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HIGH VOLUME LOW CONCENTRATION NCG

The compliance date for U.S. mills to collect and dispose of the high volume low concentration (HVLC
NCG) is still more than four years away. However, many mills are actively pursuing their options for HVLC
NCG systems in order to avoid a last minute rush to meet compliance. Even prior to implementation of the
Cluster Rules, Lundberg Associates has played a key role in the design and supply of HVLC NCG
systems to U.S. kraft pulp mills. Extensive experience with NCG systems has improved our knowledge so
that we may more effectively collect, condition, and transport the HVLC NCG for incineration. Typical
HVLC NCG sources include brown stock washer hoods, brown stock washer filtrate tanks, weak and
strong black liquor storage tanks, soap skimming tanks, and knotter hoods. Also, washers, filtrate tanks,
and blow tanks in oxygen delignification systems are collected as HVLC NCG sources. The potential
incineration locations for HVLC NCG are the same as described above for LVHC NCG. Oftentimes,
however, the large volume of HVLC NCG limits the possible incineration locations.

In particular, a direct fired thermal oxidizer (dedicated incinerator) can be designed specifically for the
required HVLC NCG flow. Lundberg Associates uses the HVLC NCG as combustion and/or cooling air for
the incinerator when LVHC NCG and stripper off gases are also being burned. Not only is the HVLC NCG
thoroughly combusted, but an additional fan for ambient air is often no longer required. Using the HVLC
NCG as combustion air also reduces the incineration chamber and subsequent equipment sizes.

THERMAL OXIDATION OF DILUTE NCG IN RECOVERY BOILERS

As the Cluster Rules have required combustion of NCG, U.S. pulp mills have been searching for existing
incineration locations to minimize capital costs. Although formerly avoided, the recovery boiler has
become a primary choice for HVLC NCG incineration. The recovery boiler offers several locations for
disposal of the NCG, including through the tertiary air system or a dedicated burner. A. H. Lundberg
Associates has developed a safe and effective method for HVLC NCG incineration in the recovery boiler
based on BLRBAC (Black Liquor Recovery Boiler Advisory Committee) recommendations.

Because the gases are to be burned in the recovery boiler, Lundberg Associates’ NCG systems
incorporate a series of interlocks and gas conditioning features designed to exclude the potential for water
to enter the boiler. These are in addition to the safety features and interlocks typically included for NCG
incineration systems.

At a recent system installation, the dilute NCG was collected, conditioned, and transported to the existing
recovery boiler for injection through a dedicated burner. Since the HVLC NCG flow was relatively small,
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2,000 ACFM (3,400 m /hr), and LVHC NCG was to be burned as well, a dedicated burner was a logical
choice. An independent natural gas fuel train was supplied for the burner to provide a continuous pilot.

Furthermore, the gases were conditioned prior to the burner to prevent moisture from entering the boiler.
First, the HVLC NCG was cooled in an indirect contact gas cooler. This vessel not only removes moisture
from the gases, but it reduces the gas volume, allowing for smaller line sizes and equipment downstream.
Next, the gases were motivated to the boiler with a steam ejector. Although fans are typically used in
HVLC NCG applications, a steam ejector was used in this case due to the low gas flow. The HVLC gases
were heated to 250ºF (120°C) in a shell and tube steam heater to further reduce the possibility of
condensation. Prior to the heater, an entrainment separator was installed to remove any remaining
moisture droplets.

Additionally, the piping was arranged so a minimum elevation distance existed between the boiler NCG
firing nozzles and the rupture disc located in the respective piping system. The rupture disc serves as a
mechanical means of ensuring that a slug of condensate contained in the NCG cannot be pushed into the
recovery furnace. By arranging the piping such that the elevation differential between the firing nozzle and
the rupture disc is in excess of the rupture disc burst pressure, a minimum safety factor is built into the
system.




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Similarly, dilute NCG was injected into the recovery boiler at another Lundberg Associates’ NCG system
installation. The HVLC NCG was collected from the decker hood, a spill collection tank, and a blow tank.
Additional sources are to be added in the future. The NCG was sent through a cyclone separator to
remove any entrained liquor or fiber, although typically direct contact fiber scrubbers or chevron
entrainment separators are preferred for fiber removal. The gases were then cooled in an indirect contact
gas cooler, motivated via an HVLC NCG fan, and heated to 150°F (65°C) prior to incineration.
Entrainment separators were installed as well to remove excess moisture from the NCG. The gases were
injected into the boiler tertiary air windbox through five independent ports. The tertiary air forced draft fan
was tied into the HVLC NCG line to the boiler to ensure sufficient gas flow through the nozzles. The
HVLC NCG was injected into the recovery boiler in such a manner as to ensure that boiler operation was
not affected.

This multiple nozzle configuration was ideal due to the phased approach of installing the HVLC NCG
system. Since the mill only wanted to collect three HVLC NCG sources initially and then add additional
sources in the future, the multiple boiler nozzles made it possible. The required velocity and pressure
drop through the nozzles could be met by using any combination of nozzles. This configuration allowed
the collected gas flow to vary while evenly distributing the gases at the tertiary air level.

Other dilute NCG system features that preclude the possibility for carrying moisture into the boiler include
low point drains and sloped piping. Low point, entrainment separator, and cooler drains are necessary to
effectively remove condensate from the NCG. Also, the NCG lines are sloped in order to facilitate draining
and avoid any low points in the piping. Lundberg Associates’ HVLC NCG systems are designed with
multiple safety features to prevent the possibility of moisture from entering the boiler.

In order to effectively incinerate the dilute noncondensible gases in the recovery boiler, care should be
taken to sufficiently condition the gases to be transported without the possibility for condensation or
moisture carryover into the boiler.

METHODS FOR REDUCTION IN THE VOLUME OF DILUTE NCG

In dilute noncondensible gas systems, the problem of excessive quantities of NCG requiring collection
often arises. The HVLC NCG sources are typically large tanks or hoods that are not well sealed, allowing
excess air infiltration. Once these sources are collected into the NCG system, the smallest leak, opening,
or hole will bring excess air into the system since the sources are operated under vacuum. Also, the
potential for washer hood doors to be left open can add to the quantity of air that must be collected. This
requires that downstream equipment and piping be sized for the excess conditions, otherwise inadequate
collection occurs. Several methods and techniques have been developed to minimize the HVLC NCG
flow, thus producing a more manageable, cost-effective system.

For example, some existing brown stock washer hoods are being replaced with new low-infiltration washer
hoods. These limit the amount of air that is drawn into the hood. Another method of minimizing the air
intake to brown stock washer hoods is through reconfiguration of the air doctor fans. Typically, air doctor
fans draw in ambient air to the washer hood to separate the sheet from the drum. This method brings
additional unnecessary air into the system. A. H. Lundberg Associates has overcome this problem by
using dirty air for the air doctor fans. At one particular installation, air was recirculated directly from the
washer hood to the air doctor fan. This simple configuration did not require extensive modifications.
Often, air doctor fans must be replaced with stainless steel units due to the corrosive nature of the
recirculated gases. In addition, an entrainment separator is recommended upstream of the fan to prevent
moisture from potentially damaging the fan. The entrainment separator and any low point drains can be
drained back to the respective washer hood or filtrate tank.

Alternatively, the vent from the brown stock washer hood’s respective filtrate tank can also be used to
provide air to the air doctor fan. This method, however, generally requires that the filtrate tank be able to
withstand slight pressure and vacuum conditions. Pressure vacuum relief devices can be supplied to
protect the filtrate tanks. These can be water sealed or mechanical type relief devices. Both of these
methods allow the air doctor fans to operate without bringing excess air into the HVLC NCG system.




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Similarly to reduce the total HVLC NCG flow, the brown stock washer filtrate tanks can be vented directly
to their respective washer hood, rather than collected as a separate HVLC NCG source. This helps
minimize the HVLC NCG collection system, because the air is circulated between the washer hood and
the filtrate tank. In this instance, the filtrate tank requires some pressure tolerance in order to maintain the
NCG flow to the washer hood.

Pressure and vacuum protection on the tanks collected into the HVLC NCG system is another important
aspect that contributes to the HVLC NCG flow. If the tank is only rated for atmospheric conditions, it
cannot be sealed and collected, as the source will be under vacuum. Aside from modifying the tank
structure, the only way to collect the tank is to sweep air into it. This involves installing an air intake on the
tank to allow for ambient air infiltration. This is a cost-effective way to collect the NCG from an
atmospheric tank without structural modifications. If the air intake is too large, however, collection of the
HVLC NCG becomes nearly impossible due to the large ingress of air. Fugitive emissions from the tank
can often be seen. This problem can be reduced through the use of a flapper type device located on the
air intake. As a very slight vacuum develops in the collected tank, the flapper door will open to allow air to
enter and prevent excess vacuum while restricting flow.

Other modifications can be made to ensure pressure and vacuum protection at the sources. A. H.
Lundberg Associates has supplied similar flapper door type devices to allow for ambient air infiltration or
tank venting on a continuous digester blow tank. These weighted mechanical devices were designed to
relieve at either 5” (130 mm) water column pressure or vacuum to protect the tank. The weights on the
flapper doors can be modified to vary the relief settings.

Ultimately, any modification that can be made to limit the amount of air infiltration to the HVLC NCG
system will help minimize the capital costs. This includes smaller line sizes, smaller equipment
downstream, reduced fuel usage for incineration, and a minimal impact at the incineration point.

EVAPORATOR INTEGRATED FOUL CONDENSATE STRIPPING SYSTEMS

A. H. Lundberg Associates has supplied multiple foul condensate steam stripping systems since the
mandate of the MACT I requirements to efficiently treat contaminated kraft mill foul condensates,
particularly those from the digester and the evaporators. Each system has been designed to meet the
specific requirements of the mill, as well as to provide compliance with the MACT I regulations. Several
systems have been designed to generate steam for use within the mill, while others are integrated into an
existing evaporator system as a primary means of heat recovery. A secondary heat sink can also be
implemented using water or black liquor in a trim reflux condenser.

The primary advantage to integrating an evaporator set into the stripping system is the ability to reuse the
heat recovered through all the bodies of the evaporator set. Typically, it is desirable to integrate the
stripping system reflux condenser with the first effect of the evaporator set. This allows the heat to be
passed through to all the remaining effects, improving its economy. Heating liquor or boiler feed water,
while efficient, does not produce the same effect through the rest of the evaporator set. The steam
economy improves as the stripper integration is introduced sooner in the evaporator set. Figure 1 shows a
typical flow diagram for an evaporator integrated steam stripping system.

One Lundberg Associates’ project in particular focused on integrating a new foul condensate stripping
system into the existing six-effect evaporator set. The steam stripping system was designed for 500 gpm
(31.5 lps) foul condensate. A falling film steam reboiler was included to allow for recovery of the steam
condensate used for stripping, as well as to reduce the volume of stripped condensate. The reboiler is a
shell and tube vessel with stripped condensate from the bottom of the column recycled on the tubeside to
generate steam for stripping. Live steam is made up to the reboiler shellside to heat the stripped
condensate. The primary reflux condenser was added to the evaporator set as a parallel first effect. The
evaporator integration also included the supply of new first and sixth effect evaporator bodies to operate in
parallel with the current arrangement. The existing first and second effects were changed to the new
second effect 2AB and 2C bodies, while the third and fourth effects were changed to the new third effect




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3A and 3B bodies. The result was a modified nine body six-effect system that can function with or without
the stripping system in service.

The design of the evaporator modifications not only allowed for the steam stripping system to be
integrated, but for a 25% increase in evaporator capacity as well. The heat from the stripper is recovered
as additional evaporation in the new parallel first effect evaporator body. The vapor from the top of the
stripping column is partially condensed in the new reflux condenser evaporator body. The heat contained
in the overhead vapors is used to concentrate the liquor from 33.9% total solids to 36.2% total solids, with
27,607 lb/hr (12,520 kg/hr) of evaporation. The uncondensed vapor from the falling film reflux condenser
is passed on to the trim reflux condenser where water is heated. The overall steam economy is 5.19 lb
evaporation per lb steam. This is just slightly lower than the 5.53 steam economy when the evaporator set
is run without the stripping system. The small decrease in economy is due to condensate preheat steam
requirements in the stripper.

A falling film body was chosen as the new first effect body to be integrated into the stripping system. This
technology offered the mill a high degree of turndown and thus, improved their ability to match the digester
system’s production rates. Another advantage of the falling film reflux condenser/evaporator body is the
ability to operate with a very low temperature differential between the reflux vapor and the boiling liquor.
The low temperature differential avoids subcooling of the reflux condensate and eliminates the possibility
of generating red oil within the reflux loop.

Similarly, another recent project involved the integration of an evaporator body into a new foul condensate
stripping system. This evaporator modification was necessary to justify the high design flow rate of 900
gpm (56.8 lps) foul condensate to the stripping system. The primary reflux condenser was integrated into
the evaporator system as a parallel first effect. It was designed to evaporate liquor from the 2A effect
evaporator body. The new primary reflux condenser/first effect was designed for 54,183 lb/hr (24,573
kg/hr) evaporation, increasing total solids from 38.5 to 42.5%. Liquor from the primary reflux condenser is
then concentrated to 49.4% total solids in the first effect and sent to the product flash tank. Sample
operating data from this stripping system are shown in Table 1 below.

            Table 1: Evaporator Integrated Steam Stripping System - Sample Operating Data


                                                  Methanol      Methanol
                     Steam Flow Cond. Flow        Conc. to     Conc. from     Methanol      Removal
   Sample Date       to Stripper to Stripper      Stripper      Stripper      Removed       Efficiency
   and Time            (klbs/hr)    (gpm)          (mg/L)        (mg/L)        (lb/day)         (%)
   Design                85.3        900            2,530         126.5        25,944         95+%
   8/27/01 8:00          51.3        475            3,695          73.7        20,609          98.0
   8/29/01 8:00          53.8        485            3,834          70.0        21,860          98.2
   8/31/01 8:00          55.1        524            4,268         114.0        26,098          97.3
   9/10/01 8:00          55.1        501            3,584          66.6        21,098          98.1
   9/12/01 8:00          61.1        550            3,417          56.0        22,145          98.4
   9/13/01 7:35          60.0        600            3,358         155.5        23,021          95.4
   9/13/01 9:00          58.0        600            3,199         149.9        21,918          95.3
   9/13/01 10:30         56.0        600            3,297         176.0        22,435          94.7
   9/13/01 12:00         54.0        600            3,224         193.1        21,788          94.0
   9/13/01 13:30         52.0        600            3,188         306.0        20,717          90.4
   9/13/01 15:00         50.0        600            3,313         370.0        21,156          88.8
   10/1/01 8:00          59.9        540            3,341          52.4        21,261          98.4
   10/3/01 8:00          59.7        524            3,484          60.2        21,512          98.3
   10/4/01 8:00          59.5        524            3,087          42.7        19,097          98.6




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This method of heat recovery from the stripping system was also beneficial in that it simultaneously
increased the capacity of the evaporator set. Other modifications were made to the evaporators to allow
for the capacity increase. These upgrades included a new parallel first effect evaporator body and
reconditioning of the existing liquor heater. The result was an eight body six-effect system. The steam
economy of the system is currently 3.94 lb evaporation per lb steam, including the steam required to
operate the stripping system. The steam economy is based upon theoretical steam requirements, and
does not include venting or radiation losses.

Furthermore, the reflux condenser in a steam stripping system can be designed to generate clean steam.
The stripping system essentially acts as a pressure reducing station when a steam generator is used.
Often a reboiler is included with the stripping system to provide feed water to the steam generator. This
practice permits the recovery of the sensible heat from the steam condensate and maximizes steam
generation. For instance, Lundberg Associates installed a 500 gpm (31.5 lps) steam stripping system to
operate with 47,222 lb/hr (21,420 kg/hr) of 60 psig (414 kPa) steam to the reboiler. The falling film reflux
condenser/steam generator partially condensed the vapors from the top of the stripping column to produce
39,026 lb/hr (17,702 kg/hr) steam at 30 psig (207 kPa). The uncondensed vapor is passed on to the trim
condenser. Table 2 provides sample operating data from this stripping system with steam generation.

                        Table 2: Steam Stripping System with Steam Generation
                                       Sample Operating Data


                                                                       Steam Outlet
                                                           Steam Flow Pressure
                                   Cond. Flow Steam Flow from Steam from Steam
                 Sample Date       to Stripper to Reboiler Generator    Generator
                 and Time             (gpm)      (klbs/hr)   (klbs/hr)    (psig)
                 Design                500         47.2        39.0        30.0
                 4/11/01 14:55         521         48.4        45.6        30.0
                 4/11/01 16:50         517         49.7        48.1        30.1
                 4/11/01 17:26         521         41.0        35.5        30.1
                 4/11/01 17:50         521         50.7        45.7        30.1


The steam stripping system can be designed to operate at even higher pressures to produce higher
pressure steam. One such project produced 60 psig (414 kPa) steam from the reflux condenser/steam
generator with 132 psig (910 kPa) steam to the reboiler. This 600 gpm stripping system produced 58,360
lb/hr (26,472 kg/hr) steam at 60 psig (414 kPa) with 68,710 lb/hr (31,166 kg/hr) steam at 132 psig (910
kPa) to the reboiler. Generating clean steam is a thermally efficient method of recovering the heat from a
foul condensate stripping system. The small losses in efficiency are due to the thermal value of the steam
and the lost preheating requirements.

 Clearly, the integration of a steam stripping system with an evaporator set or for the production of steam
is an efficient way to recover and utilize heat.

STRIPPER OFF-GAS AS FUEL FOR DIRECT FIRED THERMAL OXIDIZERS

With the increase in the number of steam stripping systems in the U.S., the methods for handling and
incineration of stripper off gas (SOG) have come under focus. As with LVHC and HVLC NCG, the stripper
off gases must be properly conditioned and transported for incineration. Stripper off gas, however, must
be handled separately from the other types of NCG. SOG can be incinerated in various locations,
including boilers, lime kilns, and dedicated incinerators. A dedicated incinerator is often a primary choice
for incineration of the SOG due to its ability to be used as fuel.




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The cost of operating a dedicated incinerator can be reduced using stripper off-gas (SOG) as fuel. A. H.
Lundberg Associates’ incinerator burners are designed to use both natural gas (or fuel oil) and stripper off
gas for combustion of the NCG. The stripping system is designed to produce SOG at 50 wt% methanol to
ensure that there is enough methanol in the SOG to serve as fuel. The fuel value of SOG at 50%
methanol is generally sufficient to limit the use of natural gas to the minimum natural gas flow required for
low fire conditions. The stripper off gas is piped to both a port on the burner and the incineration chamber.
The incinerator can operate with or without the use of stripper off gas as fuel. The incinerator uses natural
gas (or other auxiliary fuel) in the event the SOG is not available or ready for use as the primary fuel (i.e.
stripper start-up and shutdown conditions).

For instance, one recent dedicated incinerator installation included burning of LVHC NCG, HVLC NCG,
                                                                           3
and SOG. The normal natural gas flow to the burner is 33 SCFM (56 Nm /hr) using SOG as fuel. In the
event that SOG is not available, the natural gas requirement increases by more than ten times to 350
                3
SCFM (595 Nm /hr). At a similar dedicated incinerator installation, the minimum natural gas flow with
                                    3
SOG as fuel is 40 SCFM (68 Nm /hr); without SOG, the required natural gas flow is 500 SCFM (850
   3
Nm /hr). The large fuel requirement increase is due to the large quantity of HVLC NCG that must be
heated and completely combusted. Clearly, these examples demonstrate the economic benefits of
operating the dedicated incinerator with stripper off gas as fuel.

WASTE HEAT BOILERS ON DIRECT FIRED THERMAL OXIDIZERS

With the mandate of the Cluster Rules, pulp mills have been forced to find suitable locations for burning
their noncondensible gases. Direct fired thermal oxidizers, or dedicated incinerators, have become a
popular method for disposing of these hazardous gases. In order to earn back the cost of these dedicated
incineration systems, several installations have included a waste heat boiler to generate clean steam with
the hot waste gases. Figure 2 shows a standard dedicated incinerator and waste heat boiler arrangement.

A waste heat boiler is only a worthwhile investment if there is enough heating value in the gases to justify
the cost of the boiler. With a small incinerator or relatively low flow waste gas streams, the investment for
a waste heat boiler is not justified.         However, with large quantities of HVLC NCG or high
combustion/cooling air requirements to a dedicated incinerator, the investment of a waste heat boiler
becomes warranted.

For example, at one Lundberg Associates’ dedicated incinerator installation, a waste heat boiler was
supplied to generate 20,200 lb/hr (9,160 kg/hr) steam at 180 psig (1,240 kPa). The dedicated incinerator
                                                  3
was designed to handle 3,650 ACFM (6,200 m /hr) of LVHC NCG, 1,325 lb/hr (600 kg/hr) of 50 wt%
                                              3                                            3
methanol SOG, and 13,500 ACFM (22,935 m /hr) of HVLC NCG. Only 40 SCFM (68 Nm /hr) of natural
gas is required with SOG as auxiliary fuel. With the large HVLC NCG flow that must be heated to 1,600ºF
(870°C) for 0.75 seconds in order to meet Cluster Rule requirements, there is sufficient heat available to
produce steam.

First, the NCG is combusted in the incineration chamber at the required time and temperature, and then
transported to the waste heat boiler via a brick-lined hot gas transition duct. The waste heat boiler is a fire
tube type boiler with an integral steam drum. It is constructed of all carbon steel with a refractory lined gas
inlet chamber (smoke box). Hot gas from the incinerator is used to evaporate boiler feed water to produce
steam. A typical installation includes a blowdown separator as well as the boiler trim. The blowdown
separator is provided as a flash chamber for the waste heat boiler’s blowdown water. The flash steam
from the separator is vented to the atmosphere. The remaining blowdown water is cooled in an
aftercooler that is integral with the separator drain connection and then sewered. The cooled gases exit
the waste heat boiler at approximately 500ºF (260°C). This temperature must remain high in order to stay
above the dew point of SO3. Only high pressure steam is produced in the waste heat boiler for this same
reason. Finally, the gases are further cooled in a direct contact Hastelloy quench before being sent to the
SO2 scrubber.

At another Lundberg Associates’ dedicated incinerator installation, a waste heat boiler was included to
produce 23,500 lb/hr (10,658 kg/hr) steam at 165 psig (1,138 kPa). The incinerator was designed to




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combust only LVHC NCG and SOG. Due to the high heat content of these gases, however, a large
                                                                      3
combustion and cooling air requirement of 12,000 SCFM (20,387 Nm /hr) is necessary. This large flow of
air must be heated to 1600ºF (870°C) for 0.75 seconds as well, so it is desirable to recover this heat. This
is accomplished in the waste heat boiler. By generating clean steam, a waste heat boiler is an ideal way
to recover some of the costs of a dedicated incinerator.

CONCLUSION

Overall, Lundberg Associates’ expertise in meeting the Cluster Rule requirements in the U.S.A. will be
applicable to future environmental projects in Chile. The possibilities range from thermal efficient steam
stripping systems to collection and incineration of noncondensible gases. The cost effective solutions
outlined above have already been implemented in the recent surge of environmental system upgrades.

Future environmental projects in Chile that focus on condensate treatment or noncondensible gas
collection and incineration can utilize the technology implemented over the past several years, as well as
in the years to come. This technology includes combustion of dilute NCG in the recovery boiler and the
methods for reducing the noncondensible gas source flows. Also, foul condensate steam stripping
systems can be integrated into existing evaporator sets to provide improved heat economy. Dedicated
incinerators can be operated with stripper off gas as fuel to provide natural gas savings. Additionally, a
waste heat boiler can be supplied to recover some of the costs for installing a direct fired thermal oxidizer.
Each of these examples promotes cost savings to help overcome the investment required for
environmental systems. These techniques can be applied to future Chilean environmental projects.




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                      EXHIBIT B




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COLLECTION AND INCINERATION OF HIGH VOLUME-LOW CONCENTRATION
PULP MILL NONCONDENSIBLE GASES

Douglas K. Giarde                    Michael Crenshaw
A.H. Lundberg Associates, Inc.       Packaging Corporation of America


Abstract
High Volume-Low Concentration gases are collected at the Packaging Corporation of America (PCA) mill
at Valdosta, Georgia. After collection and cooling, pulp mill HVLC gases are incinerated in one of two
existing waste wood boilers which required no significant modifications in either equipment or
operation. Successful collection of HVLC gases is dependent on having reasonable estimations of
temperature and flow rates, evaluation of the streams for possible contaminants, and control of
condensates generated during transport. Successful incineration of HVLC gases is dependent on
judicious selection of incineration locations that can handle large volumes of HVLC gas on a continuous
basis. Finally, safety must be given the highest priority in the design and operation of HVLC collection
and incineration systems.
Introduction
During the past several years, many pulp mills have installed systems for the collection, treatment, and
disposal of noncondensible gases (NCG) generated during the pulping process. Most recently, these
systems have included provisions for the collection and disposal of High Volume–Low Concentration
(HVLC) gases. The PCA mill in Valdosta, Georgia installed an HVLC collection and incineration system
as a part of a larger project involving the addition of a new pulp washing line. The system was later
modified to include a dedicated incinerator for incineration of these gases, together with other pulp mill
noncondensible gases.
As the environmental climate continues to change, HVLC collection and incineration will continue to
receive more attention. The collection of dilute gases requires specialized consideration, necessitating
careful attention during all phases of the project. Through sound design, the safe and efficient
collection of HVLC gases can be accomplished.
General Design Criteria for High Volume-Low Concentration NCG Systems
Pulp mill NCG sources can be broken down into three (3) categories. The first category is the LVHC
gases; examples of typical sources are shown in Table I. The second category is the HVLC gases,
examples of which can also be found in Table I. The third category is overhead vapors from a steam
stripping system for foul condensate. These vapors are a mixture of methanol, water, and TRS gases.




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                                   Table I – Typical NCG System Sources

              LVHC GAS SOURCES                       HVLC GAS SOURCES

              Turpentine Recovery Vent               Black Liquor Oxidation Vent

              Blow Heat Recovery Vent                Soap Skimming Tanks
              Evaporator Hotwell Vents               Black Liquor Storage Tanks
              Foul Condensate Storage Tanks          Brown Stock Washer Filtrate Tanks

              Continuous Digester Relief             Brown Stock Washer Hoods
                                                     Knotter (Screen) Hoods
                                                     Chip Bins

                                                     Contaminated Condensate Tanks
                                                     Air Stripping Equipment



The historical emphasis has been on the collection of the first and third categories of sources. Only
new mills and major mill expansions have been required to include the collection of HVLC sources.
However, new regulations will soon require all mills to include collection of HVLC sources as a part of
their mill-wide NCG collection and disposal system.
Characteristics of High Volume–Low Concentration Gases
The pulp mill gas streams that are collected into the HVLC NCG system produce a gas stream that is
predominantly air, but includes small amounts of compounds known collectively as Total Reduced
Sulfur (TRS) and Volatile Organic Compounds (VOC). TRS compounds include hydrogen sulfide, methyl
mercaptan, dimethyl sulfide, and dimethyl disulfide. VOC includes methanol, acetone, and turpentine.
The first and most important characteristic of HVLC gases is that the concentration of components in
these streams falls well below the lower explosion limits (LEL). Still, the TRS compounds present are
noxious and have a very low threshold of odor detectability, resulting in the need for their collection
and disposal.
The second characteristic of HVLC gases is the high gas volumes associated with these sources. The
total volume of the combined HVLC sources, often in the range of 15,000-20,000 m3/hr and potentially
much higher, requires that the gas treatment methods and the disposal methods be given careful
consideration.
Collection of High Volume–Low Concentration Gases
For new pulp mills, the need for collection of HVLC gases from sources must be considered in initial
design of the collection points. Storage tanks can be designed to be completely sealed from the
atmosphere to minimize the volume of HVLC gases by not allowing excess air to be pulled into the tank
by the gas fan. Source collection points should be designed to withstand slight vacuum conditions of
up to 3 kPa gage.
Retrofits to existing systems can sometimes be difficult because source equipment was not originally
designed to withstand vacuum conditions. In some cases it is possible to avoid modifying or replacing
existing equipment by using a sweeping action to remove the HVLC gases from the equipment. This
requires a second equipment vent, open to atmosphere, through which some air is drawn into the
equipment. If the atmospheric and HVLC vents are properly located, HVLC gases can be effectively
purged from the equipment without releasing any gas to the atmosphere. This does result in
additional overall capacity required for the HVLC system due to the additional air added and should be
used only if absolutely necessary.



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In either case, new or existing sources, it is critical to have reasonable estimates of the expected flow
and temperature of each HVLC NCG source. Failure to properly analyze the amount of gases that will
be present can result in an expensive, oversized system, or worse, a system which is undersized and
not capable of collecting all of the gases which are being generated from the various sources.
Treatment of High Volume–Low Concentration Gases
Treatment of noncondensible gases typically takes one of three forms. The first is scrubbing with
white liquor or caustic to remove soluble TRS compounds. The second is removal of entrained fiber or
foam using direct contact scrubbers, mechanical foam breakers or cyclone separators. Third is the use
of indirect contact coolers which remove excess water vapor and other condensable from the gases
and reduce the volume of gases to be handled downstream.
HVLC systems typically do not employ white liquor scrubbers. Since there is a relatively small amount
of TRS compounds present in the gases, the benefit of removing these compounds does not justify the
cost of providing a large scrubber. More commonly, direct contact scrubbers are used as fiber removal
devices. Because of the possibility of foam carryover, HVLC sources should utilize either mechanical
foambreakers or cyclone separators to prevent foam from entering the HVLC system.
The use of indirect contact coolers is quite common in HVLC systems. Many of the sources of HVLC
gas listed in Table I will have normal temperatures in the range of 80-90° C. At these temperatures,
the HVLC gases carry a significant amount of water vapor and have a large specific volume. For
example, reducing the temperature of a typical HVLC gas stream from 90 °C to 50°    C will re m ove 94%
of the water vapor present and reduce the gas volume by 68%. This will result in less dead load from
water vapor at the incineration point and will quite possibly reduce the size of piping and equipment
downstream of the cooler, resulting in significant cost savings.
Motivation of High Volume–Low Concentration Gases
HVLC gases can be transported through the system using either steam ejectors or fans. Steam
ejectors are preferred because there is little potential for generating a spark which in turn could ignite
the HVLC gas. However, the typical high gas volume of an HVLC system precludes the use of a steam
ejector, so fans are typically used. Care must be taken in the selection and installation of the fan in
order to minimize the risk of an explosion should unusual conditions cause the LEL to be exceeded.
Incineration of High Volume–Low Concentration Gases
The three typical locations for NCG incineration include lime kilns, power or waste wood boilers, and
dedicated incinerators. The high gas volumes in the HVLC system make it difficult to use the lime kiln
as an incineration point. This is because the volume of gases to be incinerated is often a significant
portion – possibly even a majority – of the total air requirements to the kiln. Using the lime kiln as an
HVLC incineration point greatly reduces the flexibility of the kiln for its primary purpose.
Power boilers or waste wood boilers can easily handle large HVLC gas volumes and deserve
consideration as prime candidates for points of HVLC incineration. To assist in maintaining good
combustion efficiencies with these boilers, a steam coil air heater can be used on the HVLC gases prior
to their introduction into the boiler. This also reduces the potential for corrosion in the carbon steel
entry ducts.
However, when using a boiler as an incineration point, the presence of TRS compounds in the HVLC
gases can have two negative effects. The first is the possible long term corrosion effects from the
sulfur. The second is that the sulfur added from the HVLC gas stream will leave the boiler as SO2 in
the stack gases. This may result in having to add new SO2 removal and/or analysis equipment to a
boiler where none was previously required.




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Increased emphasis on mill-wide air pollution controls will make dedicated incinerators increasingly
more important in the coming years. An incinerator can be designed specifically to meet the needs of
the HVLC gases. Further, the inclusion of HVLC gases in an incinerator which is also used to destroy
LVHC and stripper overhead gases will complement the overall performance of the system. The high
volume of low fuel content HVLC gas serves as combustion and cooling air for the other NCG streams.
Conversely, the high heat value of the LVHC and stripper overhead streams greatly reduces the amount
of fuel which would otherwise be required to incinerate HVLC gases alone.
The main disadvantages of choosing an incinerator as an incineration point are its requirements for
significant initial capital expenditure and its continuing operating costs. The operating costs with
respect to fuel can be greatly reduced if a high quality stripper overhead gas stream is available for use
as a supplemental fuel.
Safety in the High Volume–Low Concentration System
The HVLC gases described earlier contain TRS compounds which can be hazardous to life and/or
property, even at the low concentration present. A properly designed HVLC system will include the
following features to address these safety concerns.
   1. Mixing of different types of gas streams is not advised. The HVLC gases could dilute the LVHC
      gases into the explosive range where they become more dangerous to handle. Mixing of either
      HVLC or LVHC gases with stripper overhead gases may condense stripper overheads and can
      cause two-phase flows in piping and low NCG velocities.
   2. Piping velocities should be maintained to ensure that gases are moving above the flame
      propagation speed of the TRS components. Typically these velocities should be several times
      the flame propagation speed of the gases. It is possible to design an NCG system with piping
      velocities above the flame propagation speed of TRS compounds, but not above the flame
      propagation speed of turpentine. Every effort must therefore be made to prevent any
      accumulation of condensate and/or turpentine throughout the system.
   3. Piping systems must be further designed so that condensate is not allowed to collect in the
      piping. If allowed to collect in the piping, two problems can occur; 1) flow can be stopped due
      to a condensate “plug” and/or 2) turpentine can collect on the surfaces of any accumulated
      condensate. All piping low points, even small piping connections at the bottom of a pipe, must
      be drained into a sealed condensate collection tank.
   4. Flame arresting devices should be installed at each incineration point. Care should be taken to
      choose and install flame arresters so that condensate cannot collect within the flame arrester.
      Also, flame arresters should be designed with large air passages which minimize pluggage and
      restriction to flow.
   5. Pressure relief devices are also important at the individual sources and near the incineration
      points. High pressure means that either a restriction has occurred in the piping or combustion
      is occurring. Due to the hazards associated with high pressure, the system must be designed to
      recognize and react to the high pressure by venting the gases and alerting the operations
      personnel that venting has occurred because of high pressure. Pressure switches can be
      effectively used to monitor pressure within HVLC systems and are used with pressure relief
      safety devices like rupture discs.
   6. Entrainment separation equipment is important to prevent entrained particles from blocking
      flame scanning equipment within the incineration locations. They can also be excellent
      locations for a low point drain within the piping. Entrainment separators minimize erosion
      damage, particularly when installed on the suction side of the HVLC system motive fan.
   7. Local vent stations, either manual or automatic, should be provided to allow for proper
      operational flexibility as well as proper isolation for maintenance.


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   8. The use of a properly designed system of interlocks, “permissives”, and control logic can
      prevent damage to the system and greatly reduce the potential for significant (and/or
      catastrophic) accidents. Safety features provided by the interlock system include:
          •   The “fail safe” position of the system should vent the HVLC gases to the atmosphere.
              The failure position of control valves and other instruments should allow the HVLC gases
              to vent to the atmosphere if electrical control power or instrument air is lost, or if the
              system interlocks are activated.
          •   Loss of flame as indicated by flame detection equipment will cause the system to vent to
              atmosphere. When a boiler is used as the incineration point, a minimum steam output
              is required to maintain HVLC gas incineration.
          •   If a steam ejector is used as the motive force, then either low steam flow or low steam
              pressure will cause the HVLC gases to vent. If a fan is used, the fan speed should be
              monitored and HVLC gases should trip at the first signs of fan failure.
          •   Low HVLC flow at the incineration point will cause the collected gases to vent.
          •   High temperature in a collection line approaching the incineration point indicates a
              possible burnback and will cause the HVLC gases to vent to atmosphere.
          •   High pressure at any source or near incineration points will cause the HVLC gases to
              vent. The causes of high pressure, such as line blockage or combustion, are important
              enough that redundant methods should be employed to ensure that the high pressure is
              relieved.
The Packaging Corporation of America HVLC System in Valdosta, Georgia
The HVLC system in Valdosta, Georgia was originally started up in April 1991. The system collects
gases from seven sources. Six of these are new sources associated with a new pulp washing line. The
seventh source is an existing batch digester evacuation system. Figure 1 is a flow diagram of the HVLC
collection system as originally installed, including the incineration portion of the system. The pulp
washer project also included the addition of new batch digester capacity. Therefore, it was necessary
to install a new LVHC NCG system for the collection of the gases generated during the digester blows
in addition to the new HVLC NCG system. A blow heat recovery system was also added to condense
and utilize the heat released during the digester blows and to concentrate the NCG into a form which
can be easily handled. The new HVLC NCG, LVHC NCG, and Blow Heat Recovery systems were all
designed, supplied, and installed by A. H. Lundberg Associates, Inc. under a turnkey contract.
System Overview
It was initially determined that fiber carryover would not be a problem from any of these sources, so
no direct contact scrubber was provided. Two sources were deemed likely to contain foam carryover,
so mechanical foambreakers were added on these tank vents. The combined HVLC sources had a
design temperature of 82° C. A cooler was installed to reduce the HVLC gas temperature to 49° C.
This temperature reduction decreased the amount of water vapor in the gas by 87% and reduced the
volume by 50%. Just as important, the downstream line size was reduced from 24″ to 20″ in diameter.
This resulted in a significant cost savings since there was approximately 250 m of pipe installed
downstream of the cooler. The decreased volumetric flow also decreased the required size of flame
arresters and control valves, and reduced the motive fan horsepower.




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Due to the high volume of the gases, approximately 10,000 m3/hr even after the cooler, a fan was
selected as the motive force for the gases. The fan, constructed of T-304 SS, is located near the bark
boilers which were selected as incineration points. This allowed the vast majority of the system piping
to remain under vacuum conditions so that any leaks would further dilute the already low concentration
gases, and further, would not allow escape of the gases to the atmosphere.
Two bark boilers were selected as primary and secondary incineration points for the HVLC gases in the
initial project. The boilers were selected because of their reliability – at least one was always in service
– and because of their ability to absorb the total HVLC flow as a reasonable proportion of the total
combustion air flow.
The HVLC system includes an air make-up system that allows the HVLC gas flow to act as a constant
source of combustion air. HVLC sources seldom operate at a constant, steady flow rate. Rather, they
swing widely depending on production rate, tank levels, and other mill processes. These swings would
be difficult to absorb in any of the incineration points, possibly resulting in inefficient combustion. To
avoid this situation, the design flow of HVLC into the incineration point is selected to be slightly higher
than the total output from the HVLC sources. Atmospheric air is added to the system to meet the
desired flow into the incineration point, providing a constant flow of combustion air for the incineration
point.
In order to remove entrained moisture droplets, chevron style mist eliminators were installed
immediately upstream of the motive fan, as well as at each incineration point. The separator in front
of the fan is especially important in order to avoid erosion of the fan blades by water droplet
impingement.
The modifications required to add the HVLC gases to the existing boilers were very minor. After
consultation with the original boiler manufacturer, it was determined that the HVLC gases would be
added to the Forced Draft Fan discharge duct prior to entering the air preheat section. This allowed
the HVLC gases to be preheated along with the rest of the boiler combustion air. The only modification
required to the boilers was a 20″ tie-in for the HVLC NCG duct into the boiler combustion air duct.
Within one day of starting the HVLC system, the entire system had been placed on line and was being
operated by the mill operators. There was no noticeable effect on the boiler operation, either in terms
of capacity or operability. Further, the amount of SO2 released from the boiler stacks increased only
marginally and was considerably lower than the normal amount of SO2 generated when the boilers
switch to use fuel oil as the fuel source.
Recent System Improvements and Additions
In October 1992, in conjunction with the installation of a new lime kiln, PCA installed a dedicated NCG
incinerator at Valdosta. As is the case with many mills, PCA had continued to add NCG sources over
the years as new systems were installed or in order to meet new requirements. The result was a
system with four different collection systems with normal incineration at four different points. Because
the new lime kiln was replacing two existing kilns which were LVHC NCG incineration points, it was
necessary to find a new primary and secondary incineration point for these NCG streams. PCA elected
to install a new dedicated incinerator as the primary incineration point. Figure 2 illustrates the various
other system modifications and Figure 3 is a flow diagram of the incinerator. The new lime kiln would
be the back-up incineration point for the LVHC NCG and for the stripper overhead gases, while the
waste wood boilers continue to back up the incinerator for the HVLC gases. The new incinerator, as
well as the modifications to the existing NCG system, was designed and supplied by A. H. Lundberg
Associates, Inc. under a turnkey engineering contract.
By combining all of the NCG streams into a single primary incineration point, PCA was able to take
advantage of the complimentary nature of the HVLC gases with the LVHC and stripper overhead gases.




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The result is a system which does not require a tremendous amount of fuel to incinerate the HVLC and
is also able to utilize the HVLC gas stream as combustion air for the other noncondensible gases.
Conclusions
The collection and incineration of High Volume–Low Concentration noncondensible gases generated in
the pulp mill is likely to become very common in all pulp mills as new environmental regulations are
issued requiring stricter air and water emissions compliance. The addition of HVLC collection systems
should be considered integrally with other types of NCG systems in order to achieve the most efficient
operation. Careful consideration should be given in the initial design phase to ensure that the HVLC
system will have adequate capacity. New systems must also consider what level of treatment is
required for the specific gases to be collected, particularly in the areas of contaminant removal and gas
cooling. The selection of an incineration point must allow for the large quantity of low heat value
gases contained in the HVLC gas streams. Finally, and most importantly, the HVLC system must
incorporate safety features which will allow easy operation of the system and yet consider the fact that
HVLC NCG is hazardous and can cause damage to life or property if not handled properly.




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                                        improve corrosion
                                        resistance



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                                    Blow heat recovery systems
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                                    LUNDBERG’S AREAS OF EXPERTISE

 BY-PRODUCT RECOVERY
          Tall Oil Soap                  Acidulation               Storage
          Turpentine                     Condensing                Storage
 CHEMICAL HANDLING AND STORAGE
          Sulfur
          Caustic
          Acids
          Sulfur Dioxide                 Storage                   Vaporization
 CHEMICAL GENERATION
          Sulfur Dioxide
          NSSC Pulping Liquor
          Sulfite/Bisulfite Pulping Liquor
 EVAPORATORS FOR PULPING LIQUOR
          Multiple-Effect                                           Vapor Recompression
          Strong Liquor Concentrators                               Crystallizer
          Pre-Evaporation                                           REX Technology
          Falling Film
 FOAM CONTROL
          Washer Filtrate                Weak Liquor Storage       Soap Skimming
          Foambreaker for Light Foam
          Soap Concentrator for Heavy Foam and Soap
 HEAT RECOVERY AND UTILIZATION
          Blow Heat                      Condensers                Systems
          Pre-Evaporation
          Digester Heaters and Circulation
          Direct Contact Gas Coolers
          TMP                            Hot Water                 Steam Generation
          Heavy Liquor Heaters
          Waste Heat Boilers
 LUNDBERG CUSTOM EQUIPMENT
          Pressure/Vacuum Relief Valves (PVRV)
          Flame Arresters
          Jacketed Valves
          Lundberg Soap Separator/Soap Skimming Rake
          Heat Exchangers                Heavy Liquor Heaters
          SO2 Gas Fans
 POLLUTION CONTROL
          Black Liquor Oxidation         Weak                      Strong
          Condensate Stripping           Steam                     Air
                                          TRS                       MeOH / BOD                     COD
          Noncondensible Gas             Collection                Incineration                   Scrubbers
                                          Strong                    Dilute                         SOG
          Direct Fired Oxidizer (DFO)
          Plywood Industry               Heat Exchangers           Steam Tunnel Condensate Evaporator
          Regenerative Thermal Oxidizer (RTO)                       Regenerative Catalytic Oxidizer (RCO)
          Wet Electrostatic Precipitator (ESP)
 SPECIAL SYSTEMS
          White Liquor Oxidation         Air                       Molecular Oxygen
          Sulfur Addition – Kraft Liquor
          Recausticizing – White Liquor
          Ash Treatment Systems – Saltcake
 TURNKEY
          Engineering
          Complete EPC




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    FLAME ARRESTERS




FEATURES                              BENEFITS
   Specifically designed for the
    pulp and paper industry

   Over 850 arresters installed
                                    The collection of TRS and volatile gases in Non-condensible Gas (NCG) and Odor
   Suitable in VOC, LVHC, HVLC
    and SOG systems
                                    Abatement Systems is an integral part of the pulp mill’s environmental program. The flammability of
                                    many of these gases presents the possibility of flame propagation in the collection system’s pipe
   Removable heat absorbing
    pack for ease of cleaning and   lines. The flame arrester is an effective precaution against flame propagation and possible damage
    replacement                     to process equipment. To meet the rigorous standards of our NCG Systems, Lundberg developed
   Weld-end or flanged             and supplies a proprietary designed flame arrester.

   2″ up to 36″ diameter
                                    Since 1977, with hundreds of units installed, Lundberg’s Flame Arrester has proven to be a reliable
   Vertical or horizontal
    installation                    and versatile device for system safety and protection.



CONTACT
    No low point for
    condensate
 Lundberg
    accumulation
 13201 Bel-Red Road
 Bellevue, Washington 98005

 425.283.5070
 Resistant to plugging
 www.lundberg-us.com


   316L SS construction



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                            LUNDBERG’S AREAS OF EXPERTISE

 BY-PRODUCT RECOVERY
        Tall Oil Soap                Acidulation          Storage
        Turpentine                   Condensing           Storage
 CHEMICAL HANDLING AND STORAGE
        Sulfur
        Caustic
        Acids
        Sulfur Dioxide               Storage              Vaporization
 CHEMICAL GENERATION
        Sulfur Dioxide
        NSSC Pulping Liquor
        Sulfite/Bisulfite Pulping Liquor
 EVAPORATORS FOR PULPING LIQUOR
        Multiple-Effect                                    Vapor Recompression
        Strong Liquor Concentrators                        Crystallizer
        Pre-Evaporation                                    REX Technology
        Falling Film
 FOAM CONTROL
                                      Weak Liquor
        Washer Filtrate                 Storage            Soap Skimming
        Foambreaker for Light Foam
        Soap Concentrator for Heavy Foam and Soap
 HEAT RECOVERY AND UTILIZATION
        Blow Heat                    Condensers           Systems
        Pre-Evaporation
        Digester Heaters and Circulation
        Direct Contact Gas Coolers
        TMP                          Hot Water            Steam Generation
        Heavy Liquor Heaters
        Waste Heat Boilers
 LUNDBERG CUSTOM EQUIPMENT
        Pressure/Vacuum Relief Valves (PVRV)
        Flame Arresters
        Jacketed Valves
        Lundberg Soap Separator/Soap Skimming Rake
                                      Heavy Liquor
        Heat Exchangers                 Heaters
        SO2 Gas Fans
 POLLUTION CONTROL
        Black Liquor
          Oxidation                   Weak                 Strong
        Condensate Stripping  Steam                       Air
                                      TRS                  MeOH / BOD                 COD
        Noncondensible Gas  Collection                    Incineration               Scrubbers
                                      Strong               Dilute                     SOG
        Direct Fired Oxidizer (DFO)
        Plywood Industry             Heat Exchangers      Steam Tunnel Condensate Evaporator
        Regenerative Thermal Oxidizer (RTO)                Regenerative Catalytic Oxidizer (RCO)
        Wet Electrostatic Precipitator (ESP)
 SPECIAL SYSTEMS
        White Liquor
          Oxidation                   Air                  Molecular Oxygen
        Sulfur Addition – Kraft Liquor
        Recausticizing – White Liquor
        Ash Treatment Systems – Saltcake
 TURNKEY
        Engineering
        Complete EPC
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                                                                   Flame Arrester
A.H. LUNDBERG ASSOCIATES, INC.


The collection of TRS and volatile gases in          •   Specifically designed for the pulp and paper
                                                         industry
Noncondensible Gas (NCG) and Odor
Abatement Systems is an integral part of the         •   Over 850 arresters installed
pulp mill’s environmental program. The flamma-
bility of many of these gases presents the           •   Suitable in VOC, LVHC, HVLC and SOG systems
possibility of flame propagation in the collection
system’s pipe lines. The flame arrester is an        •   Removable heat absorbing pack for ease of
                                                         cleaning and replacement
effective precaution against flame propagation
and possible damage to process equipment.            •   Weld-end or flanged
To meet the rigorous standards of our NCG
Systems, Lundberg Associates developed and           •   2″ up to 36″ diameter
supplies a proprietary designed flame arrester.
                                                     •   Vertical or horizontal installation
Since 1977, in more than two hundred installa-       •   No low point for condensate accumulation
tions, the Lundberg Associates’ Flame Arrester
has proven to be a reliable and versatile device     •   Resistant to plugging
for system safety and protection.                    •   316L SS construction




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ALTERNATIVE EQUIPMENT FOR THE INCINERATION OF NONCONDENSIBLE GASES

David W. Keyser, P.E.


Introduction
In the course of the chemical pulping process, malodorous gases are formed in the digester. These
noncondensible gases (NCG) can vent from various process vessels and escape to the atmosphere.
Regulations restricting the discharge of these gases continue to be enacted. As mills make their plans
for the collection and incineration of NCG, one of the key decisions that has to be made is the
determination of where the gases are to be incinerated. This paper is intended to review the various
options for incineration of NCG, and discuss the considerations in selecting the incineration method.
Advantages, disadvantages, and limitations of each incineration method will be included, as well as
safety, process, and cost considerations.
Characteristics of Kraft Pulp Mill Gases
Pulp mill noncondensible gas (NCG) can be generally divided into three categories. One category
includes the low-volume high-concentration (LVHC) gases, often referred to as strong gas. Examples of
the sources of this type of NCG are:
       Turpentine Recovery
       Blow Heat Recovery
       Evaporator Hotwell / Aftercondenser
       Foul Condensate Storage Tanks
       Continuous Digester Relief
       Steam Condensate Stripping




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Another category of NCG includes the high-volume low-concentration (HVLC) gases, often referred to
as dilute gas. Examples of the sources of this type of NCG are:
       Weak Black Liquor Storage Tanks
       Knotter (Screen) Hoods
       Brown Stock Washer Hoods
       Brown Stock Washer Filtrate Tanks
       Brown Stock Washer Intermediate Stock Chests
       Brown Stock Washer Foam Tanks
       Oxygen Delignification Blow Tanks
       Oxygen Delignification Post O2 Washers
       Oxygen Delignification Filtrate Tanks
       Oxygen Delignification Interstage Pulp Storage Tanks
       Decker Hoods and Filtrate Tanks
       Chip Bin Relief Condensers*
       Air Condensate Stripping*
* Special consideration must be given to these sources for its potential for containing significantly
higher quantities of turpentine vapor and sulfides.
Environmental regulations over the last 15 to 20 years have typically required that only the SOG and
LVHC gases be collected and incinerated. However, with the enactment of more restrictive regulations
pertaining to the control of pulp mill emissions, both new mills and some mills with major expansions
will be required to collect and control the HVLC gases in many countries.
The flow rates and compositions of the NCG vary with the source process design, the condition of the
source equipment, and the wood being pulped. For this reason, the NCG sources must be carefully
studied prior to design.
In general, the HVLC NCG from kraft pulp mills can be characterized as wet air, contaminated with TRS
compounds (e.g. hydrogen sulfide, methyl mercaptan, dimethyl sulfide, and dimethyl disulfide)
methanol vapor, and, in some cases, turpentine vapor as well as other organic compounds. The
concentration of these contaminants is typically below the lower flammable limit (LFL) for the actual
mixtures of these compounds with air. The exact value of the mixture's LFL will depend on the relative
amounts of the various contaminants, and will typically lie somewhere in the range of two to five (2-5)
volume percent. Maintaining the concentration of these gases below the LFL is of significant value to
the safety of the system, since gases with concentrations below the LFL will not sustain combustion
without additional fuel.
The LVHC NCG from kraft pulp mills, on the other hand, consists of high concentrations of TRS
compounds and methanol vapor, with insufficient oxygen to sustain combustion. It is desirable to
maintain the concentration of the combustibles above the upper flammable limit (UFL), in order to
preserve the LVHC gas stream in this inherently safe state. As with the LFL, the exact value of the UFL
will depend on the relative amounts of the various combustible compounds present in the gas mixture,
although it is typically expected to lie somewhere in the range of 20 to 40 volume percent.




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A special category of LVHC gas is overhead vapor from a foul condensate steam stripping system. This
vapor is a mixture of methanol, water, and total reduced sulfur (TRS) compounds, and is usually
referred to as Stripper Off Gas (SOG). Because of its special composition and properties, it is handled
separately from the other LVHC gases. It is important to note that SOG is, unlike other pulp mill waste
gases, a condensible gas. Therefore, if it is to be burned as a gas, it must be transported in insulated
pipe lines, and must not be cooled or combined with either LVHC or HVLC NCG.
Incineration Options For Noncondensible Gases
A number of options are available for the incineration of the NCG in a kraft pulp mill. These options
include a recovery boiler, a power boiler, a dedicated waste gas incinerator, a lime kiln, and a
regenerative thermal oxidizer (RTO). The viability of each of these options depends on site-specific
considerations, which include the following:
   •    The volume of the NCG to be incinerated.
   •    The air flow requirements, relative to the NCG flow, for the incineration point under
        consideration.
   •    The regulatory permit requirements for the incineration point under consideration.
   •    The existence of stack monitoring equipment for SO2 and/or TRS on the incineration point
        under consideration.
   •    The existence of flue gas scrubbing equipment for SO2 on the incineration point under
        consideration.
   •    The cost of oil or natural gas to be used as either primary or auxiliary fuel for a dedicated waste
        gas incineration system.
   •    The availability of high-Btu-value waste gas (especially SOG) to provide the primary fuel for a
        dedicated waste gas incinerator.
   •    The physical proximity of the various candidate incineration points to the majority of the NCG
        sources.
   •    The availability of a suitable location for the injection of NCG gases into the incineration point
        under consideration.
   •    Past experience with the incineration of waste gases in one or more of the candidate
        incineration points.
   •    The operational availability factor for each of the candidate incineration points.
   •    The potential for corrosion in existing air systems and/or leakage of malodorous and noxious
        gases to the surrounding mill environment.
   •    The presence of turpentine vapors in the NCG.




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Comparison of Various Incineration Options
A comparison of the various options for NCG incineration should take into account the considerations
listed above for the specific site. Several typical guidelines can be used to facilitate this evaluation.
1. NCG Flow Rates and Incineration Point Air Flow Requirements
The volume of the HVLC NCG to be incinerated is typically on the order of 10,000 to 40,000 actual
cubic meters per hour, or even more, depending on the types of sources being collected and the age
and condition of the source equipment. This flow rate is on the order of magnitude of the total forced
draft air flow requirement for most lime kilns and many smaller power boilers, and in many cases may
even exceed that requirement. For this reason, HVLC NCG is not typically burned in lime kilns, unless
the HVLC NCG system is dedicated to only one or a few sources. On the other hand, larger boilers,
including recovery boilers, may have forced air flow requirements that are five or ten times the flow of
the HVLC NCG, and they are therefore a much better "fit" for the incineration of these gases. A
dedicated waste gas incinerator or a RTO can be sized to handle even the highest HVLC NCG flows.
The volume of the LVHC NCG to be incinerated is typically on the order of 500 to 2,000 actual cubic
meters per hour, again depending on the types of sources being collected and the age and condition of
the source equipment. This volume of gas can be handled by most existing lime kilns and power
boilers. It must be noted, however, that the LVHC gas (and especially SOG) has a net positive fuel
value, and will, therefore, increase the demand for combustion air within this type of existing
equipment.
2. Regulatory Permit Requirements
The regulatory permitting requirements for fired equipment with stack emissions often varies from
region to region and even from mill site to mill site. In some situations, the permit granted to existing
equipment may allow the incineration of NCG without a re-permitting process. When this is the case, it
would favor the utilization of existing equipment for burning the NCG over new dedicated equipment
(such as an incinerator or a RTO), which would require an entirely new permit.
3. Stack Monitoring Requirements
Many existing power boilers that use low-sulfur fuels do not have continuous emission monitoring
systems (CEMS) for their flue gases. The recovery boiler, on the other hand, normally burns
concentrated black liquor, which contains sulfur compounds including TRS. For this reason, the
recovery boiler, which normally captures most sulfur compounds in the smelt as useable product,
typically has a CEMS to monitor TRS. It may also have a CEMS for S02 as well.
This may favor the recovery boiler over some power boilers for burning of NCG, since it may eliminate
the need for additional stack monitoring systems. However, it is not an advantage when comparing the
recovery boiler to dedicated waste gas incineration systems, which typically provide effective
incineration and flue gas scrubbing through the demonstrated control of furnace temperature and
residence time, scrubbing media pH, and scrubbing media flow, without the requirement of an installed
CEMS.




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4. SO2 Scrubbing Requirements
Many existing power boilers that use low-sulfur fuels do not have flue gas scrubbing equipment for the
removal of SO2 emissions. The recovery boiler, which oxidizes certain sulfur compounds contained in
the black liquor to SO2, typically does not require such equipment due to the subsequent buffering
reactions in the recovery boiler. The burning of NCG in the recovery boiler usually does not increase
the generation of SO2 in the boiler furnace to the degree that the allowable level of SO, for the boiler's
stack emissions permit will be exceeded. This is because the mass of sulfur as TRS compounds in the
NCG is very small in comparison with those sulfur compounds in the black liquor that will oxidize to
SO2. This characteristic of the recovery boiler eliminates the need for additional SO, scrubbing
equipment which might be required for NCG in a power boiler, in a waste gas incinerator, or in a RTO.
5. Fuel Requirements and Availability of High Fuel Value Waste Gas
Since LVHC NCG has a net positive fuel value, little or no additional auxiliary fuel for its incineration is
required.
Since the HVLC NCG simply replaces part of the forced draft air that is required by the recovery boiler,
the additional fuel consumption required by dedicated incineration equipment, such as a waste gas
incinerator or a RTO, is avoided. In comparison to a waste gas incinerator, this advantage may be only
slight, if a high-Btu-value waste gas stream, such as SOG, is available for combustion in the incinerator.
Those mills with properly designed and operated foul condensate steam strippers will have a methanol-
rich off-gas stream that can be used to drastically reduce the consumption of auxiliary fuel, such as oil
or natural gas, in the incinerator. The use of SOG as a fuel source for a RTO raises concerns, due to
possible difficulties in temperature control of the RTO packed beds.
If the flow of HVLC NCG is very high, then it is quite likely that the SOG fuel source will be insufficient
for the operation of a dedicated incinerator. In this situation, it is necessary to compare the fuel
requirements to the available waste gas fuel, before a decision with respect to an incineration point can
be made.
6. Physical Layout and Proximity to Waste Gas Sources
Dedicated incineration systems, such as an incinerator or a RTO, may be located much closer to the
majority of the NCG sources. This could produce a savings in the installed cost of the NCG system that
would partially offset the cost of the new incinerator or new RTO. Furthermore, by reducing the length
of the collection header, it is possible to reduce the horsepower requirements for the HVLC NCG
collection fan and the motive steam requirements for the LVHC NCG ejector. The physical layout of the
plant will always be an important consideration.
7. Space Requirements
Since the HVLC NCG flow rates are typically quite high, and the resulting HVLC NCG pipelines to the
incineration point are often quite large (on the order of 600 mm to 900 mm), a suitable location that is
physically accessible for the injection of the HVLC NCG into the incineration point must be identified
before the final decision on the incineration point can be made. It is typically good practice to inject the
HVLC gases into the tubular air heater inlet or outlet for some power boiler designs, and into a
secondary air duct downstream of the air preheater for the recovery boiler. The individual boiler design
must be studied with respect to good mixing of the HVLC NCG with the balance of the boiler air, the
avoidance of low points where TRS compounds and/or turpentine-laden condensates could accumulate.
The availability of sufficient space for HVLC NCG pipe routing and the HVLC NCG system equipment
installation must also be considered.




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Due to the relatively low flow rate of LVHC NCG and SOG, and their correspondingly small pipelines to
the incineration point (typically 100 mm to 200 mm), it is usually relatively easy to find a suitable
location that is physically accessible for the injection of these gases into most incineration points. If the
incineration point is a power boiler or a recovery boiler, then it is typically good practice to inject the
gases directly into the boiler furnace. These gases should not be mixed with the boiler air in the way
described above for the HVLC NCG.
8. Past Experience with the Incineration of Waste Gas
In some cases, a given mill site will already have successful experience with the incineration of waste
gases in a particular incineration point. Other considerations being equal or nearly so, this experience
of the mill's operations, maintenance, and engineering staff may provide a valid justification for
selection of a similar incineration point for the burning of the additional NCG.
9. Availability Factors
Generally speaking, recovery boilers have high availability factors and, if the recovery boiler is not in
service, then the remainder of the mill will also shut down within a short period of time. This is an
advantage over lime kilns, which are subject to more frequent interruptions in operation. Recovery
boiler operations tend to be steady, unlike some power boilers whose rate of firing may fluctuate
somewhat with steam demand. These relative advantages, however, are not enjoyed over dedicated
waste gas incinerators, which are known to achieve steady operation and 98% availability.
10. Corrosion and Leakage of NCG in Existing Air Systems
The introduction of HVLC NCG into the air supply systems of either recovery boilers or power boilers
often raises the concern of potential corrosion in the existing air ductwork or windboxes. It can also
raise concerns regarding the leakage of malodorous and noxious gases from corroded ductwork and
leaky joints into the surrounding mill environment. These concerns can be effectively addressed by
ensuring that the gases are both dry and superheated before their introduction into the boiler air
system, and by verifying and maintaining the mechanical integrity of the air ductwork and its joint
gasketing or sealant. Another approach for"dealing with these concerns is to inject the HVLC NCG
directly into the boiler furnace, similar to the waste gas injection that is generally done for dedicated
waste gas incinerators and lime kilns (and for LVHC NCG in boilers as well). One disadvantage to this
approach is the investment required for a sizable boiler tube wall modification. Another disadvantage is
that the beneficial dilution, obtained by combining the HVLC NCG with other boiler air, is lost when the
HVLC NCG is injected directly into the furnace.
11. Turpentine Vapor from Special Sources
The potential for high levels of turpentine vapors in the NCG of softwood mills can raise safety
concerns due to that vapor's high flame propagation speed and low flammable limit (less than one
percent) in HVLC NCG. In a fundamental sense, the need to eliminate high concentrations of turpentine
vapor in the NCG is a safety requirement regardless of which incineration option is selected. In a
practical sense, however, the size of the HVLC NCG system and the actual location of each viable
incineration option may affect the determination of how to deal most effectively with HVLC NCG from
sources that present a potential for high turpentine concentrations (for example, chip bins and air
stripping systems). In a smaller HVLC NCG system, the chip bin gas would not be diluted so much
when combined with gases from the other sources. It might be advisable under such circumstances to
collect and incinerate the chip bin gas separately from the other HVLC NCG. In this case, it is quite
conceivable that the chip bin gas might be burned in one incineration point (close to the chip bin),
while the other HVLC NCG might be burned in another incineration point (located more conveniently
with respect to the rest of the HVLC NCG sources).




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Safety and Operational Considerations
In order to obtain the safe and reliable incineration of the NCG in any incineration point, a number of
safety and operational considerations are necessary. In the case of recovery boiler incineration, special
consideration is given to the elimination of moisture from all waste gas streams and the introduction of
HVLC NCG to the incineration point as a superheated gas without any entrained liquids. This minimizes
any concern that the HVLC NCG system could become a source of corrosion in existing air supply
systems or of liquid coming into contact with the smelt bed in the boiler.
The following list is intended to provide the reader with generic system design guidelines. However,
any actual NCG incineration system will require individualized and detailed scrutiny, and possible
additions to this list. In particular, careful planning of the NCG gas pipeline routing must be done to
ensure proper sloping of the lines, as well as the elimination of low points in the piping (or the proper
drainage of low points when these are unavoidable).
   1. As described above in the section "Characteristics of Kraft Pulp Mill Gases," the HVLC NCG
      sources are those whose combustibles concentrations can be maintained consistently below the
      LFL. Therefore, the collection of strong (LVHC NCG) sources into the HVLC NCG system must be
      avoided, since the inclusion of even one strong source creates the potential for pushing the
      combustibles concentration of the combined HVLC NCG gases above the LFL.
   2. The gas lines must be sized to provide safe line velocities above the flame propagation speeds
      of methanol and TRS compounds. This is especially important for the gas line going to the
      incineration point. A low gas flow interlock must be provided for this line to ensure that the
      gases are vented if this safe line velocity is not maintained.
   3. For HVLC systems, ambient flow make-up air must be provided on flow control both to ensure a
      minimum safe line velocity and to maintain a steady flow of gas to the incineration point. This
      allows the HVLC NCG system to provide a consistent contribution of air to the incineration point,
      even when the system experiences variation in gas flows from one or more of the sources.
   4. Flame arresters provided in the gas lines at every LVHC NCG source and just upstream of where
      the NCG is injected into the incineration equipment will protect the LVHC sources and the NCG
      system equipment from damage in the unlikely event of a source of ignition combined with a
      gas combustibles concentration above the LFL and below the UFL. A temperature transmitter,
      located between the flame arrester and the gas injection point, provides a high temperature
      interlock which will cause the NCG system to vent its gases to atmosphere in the unlikely event
      that burning were to occur at this point.
   5. Entrainment separators are included in the NCG system both to serve as low point drains and to
      eliminate liquid droplets entrained in the gas stream. The condensate collection tanks for the
      entrainment separators as well as any other low point drains are monitored with level switches
      or transmitters. This instrumentation provides high level interlocks which vent the NCG system
      gases whenever the liquids are not removed properly. These provisions are especially important
      for incineration of the NCG in the recovery boiler, since the introduction of liquids to the boiler
      furnace must be strictly avoided.




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6. A gas heater is included in the HVLC NCG system to superheat the gas before it is injected into
   the forced draft air stream going to either the power boiler or the recovery boiler. This
   accomplishes the same preheating that is required for the forced draft air for which the HVLC
   NCG is substituted. It also ensures that the HVLC NCG is free of liquid moisture, by preheating
   the gas to a temperature well above the dewpoint. In addition to addressing the safety of the
   installation, the preheating prevents the corrosion that would otherwise occur, particularly in
   the boiler's air supply system. The gas heater may be of either shell-and-tube or steam-coil
   design. A low temperature interlock for the HVLC NCG at the point of injection into the boiler
   will vent the HVLC NCG until a minimum gas heater outlet temperature is obtained. The HVLC
   NCG system vent at the boiler is located downstream of the gas heater. This allows the gas
   temperature to be re-established while venting the HVLC NCG.
7. A rupture disc, provided in the gas lines at every LVHC NCG source and near the NCG
   incineration points, will protect the LVHC sources and the NCG system equipment from damage
   in the unlikely event of high pressure due to a fire in the NCG lines. The system also includes a
   pressure switch located near each rupture disc with an interlocked high pressure alarm that will
   vent the NCG whenever the gas line pressure near the rupture disc approaches the burst
   pressure of the disc.
8. A combustibility meter, used to detect the percent of LFL in the HVLC NCG can be used to alarm
   at a given concentration, or can even provide an interlock that vents the system when the
   combustibles concentration in the HVLC NCG becomes too high. In order for such an interlock
   to be effective, it is necessary to install the meter(s) near the source or sources which may be
   expected to experience high combustibles concentrations, and then vent the combined system
   HVLC NCG near the incineration point on high percent LFL.
   These meters have been used successfully at a number of mills. They do require regular
   calibration and maintenance in order to obtain reliable results and to avoid nuisance trips.
   Assuming that they receive the appropriate attention, they can be a useful safeguard. However,
   they should not be used as substitutes for a design that eliminates high concentrations of
   combustibles in the HVLC NCG. In a properly designed HVLC NCG system, which incorporates
   the other safety considerations mentioned herein, combustibility meters can be omitted while
   still maintaining safe HVLC NCG collection and incineration.
9. Chip bin vents present the potential for high concentrations of combustibles, including (in
   softwood mills) turpentine vapors. While it is true that the chip bin's NCG combustibles are
   diluted significantly when combined with gas from other HVLC NCG sources, additional system
   safeguards are necessary in order to avoid combustibles concentrations in excess of the LFL in
   the combined HVLC NCG going to the incineration point. It is therefore important that the
   operation of the chip bin, as well as the handling of its vent gas, be designed to eliminate high
   combustible concentrations due to vapor "blow-throughs" or other chip bin upsets. This will
   require stable operational levels and temperatures in the chip bin, an adequately-sized chip bin
   relief condenser, and an interlock that vents the chip bin source to the atmosphere on high
   temperature at the chip bin relief condenser vent.
   The design of the chip bin itself, as well as the control strategy for the pre-steaming of chips in
   the bin, will also affect the determination of safeguards that are required to maintain low
   concentrations of combustibles in the bin's vent gas.




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   10. The following list is a summary of the typical interlocked permissives that must be satisfied in
       order to burn NCG.
   •    Incineration equipment ready to receive NCG. (This is typically a combination of several
        conditions; for example, a certain minimum steam production (in boilers), air supply fans
        running, minimum furnace temperature, and flame safety systems in normal operational
        status.)
   •    NCG flow not too low at the incineration point.
   •    NCG temperature not too high at the incineration point.
   •    HVLC NCG temperature not too low at the boiler.
   •    NCG pressure not too high anywhere in the system.
   •    Foul condensate level not too high in condensate drains and/or condensate collection tank(s)
        anywhere near the incineration point.
   •    HVLC NCG blower(s) running.
   •    LVHC NCG steam ejector operation normal (normal steam flow and steam pressure to the
        ejector).
The venting of gases from the incineration point may, under certain conditions, be followed by transfer
of NCG to a secondary or back-up incineration point. This provision will minimise the total amount of
NCG system venting.
Summary
The options available for the incineration of NCGs include a power boiler, a dedicated waste gas
incinerator, a lime kiln (for LVHC NCG and smaller HVLC NCG systems only), a recovery boiler, and a
regenerative thermal oxidizer (for HVLC NCG systems only). The comparison of the various options for
NCG incineration should take into account a number of site-specific considerations, which include the
following:
   •    The volume of the NCG to be incinerated.
   •    The air flow requirements, relative to the NCG flow, for the incineration point under
        consideration.
   •    The regulatory permitting requirements for the incineration point under consideration.
   •    The existence of stack monitoring equipment for SO2 and/or TRS on the incineration point
        under consideration.
   •    The existence of flue gas scrubbing equipment for SO2 on the incineration point under
        consideration.
   •    The cost of oil or natural gas to be used as either primary or auxiliary fuel for a dedicated waste
        gas incineration system.
   •    The availability of high-Btu-value waste gas (especially SOG) to provide the primary fuel for a
        dedicated waste gas incinerator.
   •    The physical proximity of the various candidate incineration points to the majority of the NCG
        sources.
   •    The availability of a suitable location for the injection of NCG gases into the incineration point
        under consideration.
   •    Past experience with the incineration of waste gases in one or more of the candidate
        incineration points.

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      •    The operational availability factor for each of the candidate incineration points.
      •    The potential for corrosion in existing air systems and/or leakage of malodorous and noxious
           gases to the surrounding mill environment.
      •    The presence of turpentine vapors in the NCG.
When the appropriate safety and operational considerations are applied to the design of the ff¥iP6
system, these gases can be treated safely and effectively with any of several incineration equipment
options at any kraft pulp mill. However, the capital and operating costs for the different options will
vary greatly from one mill to another, depending upon the site-specific considerations listed above.
The following table summarizes the typical suitability of various incineration equipment alternatives for
waste gases. A "+" or a "—" beneath each incineration equipment alternative indicates its relative
suitability for the type of waste gas or gases listed.


                                     Types Of Incineration Equipment

TYPE(S) OF WASTE GAS          POWER            INCINERATOR     RECOVERY         LIME KILN       RTO
                              BOILER                           BOILER
LVHC                          +                +               +                +               -

SOG                           4-               +               +                +               -

Low HVLC                      +                +               +                +               +

High HVLC                     +                -               +                -               +

Low HVLC & LVHC               +                +               +                +               -

Low HVLC, LVHC, & SOG         +                +               +                +               -

Low HVLC & SOG                +                +               +                +               -

LVHC & SOG                    +                +               +                +               -

High HVLC & LVHC              +                -               +                -               +

High HVLC, LVHC, & SOG        +                -               +                -               -

High HVLC & SOG               +                -               +                -               -




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COLLECTING AND BURNING NONCONDENSIBLE GASES

L. Paul Johnson, P.E.                       Ben Lin, P.Eng.
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Introduction
Kraft pulp mills are typically characterized by a distinct foul odor. This odor is caused by sulfur
compounds, referred to as Total Reduced Sulfur (TRS). These gases are generated in Kraft pulping
process. TRS can also be generated in direct contact evaporators, in recovery boilers, and in lime kilns.
There are four constituents of TRS gases: hydrogen sulfide (H2S), methyl mercaptan (CH3SH), dimethyl
sulfide (CH3SCH3), and dimethyl disulfide (CH3SSCH3).
TRS gases are emitted from several processes in the Kraft pulp mill. The highest concentrations come
from the digesters, evaporators, turpentine system and condensate stripping system. Lesser
concentrations are emitted from the brown stock washers, condensate tanks and liquor storage tanks.
The vent gases are collectively referred to as Noncondensible Gases (NCG).
The first attempts to contain these odorous gases were in the late 1950's. Initially systems collected
and transported all forms of NCG in a single pipeline with a fan as motivation. Additional ambient air
was added to ensure the TRS concentrations were below the lower explosive limits. This was not
always successful, especially with concentrated gases coming from digesters and evaporators. The
results were that many early systems experienced fires or explosions.
In the early 1970's advances were made to keep the NCG undiluted. With the smaller gas volumes
steam ejectors could be used to motivate the NCG. These systems virtually eliminated explosions in
NCG systems and became the precursor for the present day accepted method for handling NCG.
NCG also contains other pollutants, such as turpentine and methanol. These gases are classified as
Hazardous Air Pollutants (HAPs). Environmental Regulations also require the collection and destruction
of HAPs.
The steam ejector-based NCG systems have been so successful and reliable that the Environmental
Regulations in the United States require all Kraft mills to have NCG systems and to operate them at
99% uptime.




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NCG Composition
NCG can be separated into three categories depending upon the composition. These are:
    •    Low Volume High Concentration (LVHC) NCG, also known as Concentrated NCG (CNCG)
    •    High Volume Low Concentration (HVLC) NCG, also known as Dilute NCG (DNCG)
    •    Stripper Off-Gases (SOG)
Chip bin gases (CBG) from the continuous digester are a hybrid category. They are typically collected
with the HVLC NCG, but require special handling due to high TRS concentration excursions.
Typical LVHC NCG concentrations are shown in Table 1. These gases come from batch digester blow
heat recovery systems, turpentine recovery systems, continuous digester flash steam condensers and
evaporator vacuum systems. The actual composition will vary widely from system to system
dependent on a number of variables. From time to time the composition will vary within the same
system.
Table 1. Typical LVHC NCG Analysis

 SOURCE                    %TRS (VOL)                            %O2 (VOL)

                           Min          Avg         Max          Min           Avg          Max

 Batch Digester            20           50          70           0.5           2.0          5.0

 Continuous Digester       12           60          80           1.0           3.0          10.0

 Turpentine (Batch)        0.1          2.0         10           4.0           12.0         20.0

 Evaporator                1.0          60          70           1.0           5.0          8.0

 Combined                  10           50          65           2.0           3.0          6.0



It should be noted that in LVHC NCG, the TRS gases and HAPs make up approximately 50% of the
volume. The largest component of NCG is air that has been depleted of 50% or more of its oxygen.
The main source of air in a LVHC NCG system is leaks. Some dissolved air is also released from the white
and black liquor. The oxygen is depleted by reacting with reducing agents, such as Na2S, in the liquors
that it contacts. The data shown in Table 1 are for a “tight” system.
NCG PROPERTIES
Corrosivity
All forms of NCG, but particularly LVHC NCG, are highly corrosive to carbon steel. Normally the NCG is
saturated with water vapor resulting in condensation within the collection system. Some of the TRS
gases, especially H2S and CH3SH are acidic, and will absorb in this condensate. The combination of this
acidic condensate and the oxygen present in the NCG can be very corrosive to carbon steel. Thus carbon
steel must be avoided in NCG collection systems.
The methanol and turpentine present in the NCG, along with other minor constituents, are very strong
solvents that can dissolve or soften plastics or resin in Fiberglass Reinforced Plastic (FRP) piping.
Therefore plastics or FRP should also be avoided in NCG collection systems. Furthermore FRP could easily
fail during a fire started by NCG ignition.
Either 304 or 316 series stainless steel has proven to be resistant to NCG corrosion. These are the
preferred materials of construction for NCG systems.



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Toxicity
NCG is highly toxic and has been responsible for deaths and injuries in the pulp and paper industry.
The toxicity of hydrogen sulfide is well known. At 20 ppm it causes irritation of the eyes and
respiratory tract. Thirty minutes of exposure at 500 ppm causes severe sickness. Exposure at 1000
ppm for 30 minutes is fatal. The other components of NCG are similarly toxic. TRS concentration in a
LVHC NCG system is commonly 100,000 ppm or greater.
Great care must be taken in the design and construction of systems for handling NCG gases due to
their toxicity. Gas leaks, especially in enclosed areas, must be avoided. Venting must be controlled
such that when there is an upset condition the gases are released in a safe manner well away from
personnel. Vent stacks should be as high as reasonably possible and clear of any buildings, platforms
and ladders where personnel may travel as well as clear of any ventilation air intakes.
Explosivity
TRS, methanol and turpentine are flammable in the presence of sufficient oxygen. If contained in a
pipeline or vessel they can also be explosive. Table 2 shows the combustion properties of the main
components of NCG.
Table 2: Combustion Properties of NCG in Air

                          EXPLOSIVE LIMITS

                          Lower            Upper            Flame Speed         Auto-Ignition Temp
                          (% Vol)          (% Vol)          ft/sec (m/sec)      °F (°C)

H2S                       4.3              45.0                                 500

                                                                                (260)

CH3SH                     3.9              21.8             1.8
                                                            (0.55)

CH3SCH3                   2.2              19.7                                 400
                                                                                (206)

CH3SSCH3                  1.1              8.0                                  572

                                                                                (300)

Alpha-pinene              0.8              6.0              500                 487
                                                            (154)?              (253)

Methanol                  6.7              36.5             1.5                 867
                                                            (0.50)              (464)



The Lower Explosive Limit (LEL) is the lowest concentration of gas (by percent volume) that will burn
when mixed with air. At concentrations lower than this level there is insufficient gas to sustain
combustion.
Similarly, the Upper Explosive Limit (UEL) is the highest concentration of gas that will burn when mixed
with air. At concentrations higher than this level there is insufficient oxygen to sustain combustion.




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Unfortunately, the terms LEL and UEL only explain the situation in theoretical terms. In reality, as
emitted, TRS gases are mixed with air that has most of its oxygen depleted. As such, the gases are still
not explosive at these points. Figure 1 illustrates this situation.
This figure is based on test data and the assumption that mixed TRS gases, which also contain other
combustibles such as MeOH and turpentine, are flammable over the range of 2% to 50% for all
combustibles. The exact shape of this curve has not been determined, and will vary depending on the
TRS components present.




                                    Figure 1. Explosive Range of NCG

Point A on Figure 1 is pure air with 21% oxygen, 0% combustible. Point B is pure combustible with
0% oxygen. The two points C and D on Line AB represent the LEL and UEL respectively.
The shaded area under Line CD represents the range of gases that are explosive. For example, Point E
represents a typical LVHC NCG mixture that is well outside the explosive range. However, as air is
added, the mixture moves along Line AE towards Point A. At some point the gases will enter the
explosive range.
In the past, attempts were made to reduce LVHC NCG concentrations below the explosive limit by
diluting by a factor of 20 to 1 with air. As a result the mixture ended up at Point F, which is outside
the explosive range. However, if the system was under-designed, or if an upset occurred which
reduced this dilution ratio, the gases would end up in the explosive range. Once at an explosive
concentration an explosion could occur.
Another design concern with NCG is the flame propagation speed. This is a measure of how fast the
flame will travel through the pipeline or vessel once a fire is started. See Table II lists velocities for the
various constituents.
The flame propagation speed for sulfur gases is relatively slow. The flame propagation speed for
turpentine is presently being debated. Some experts claim the value reported in Table II for turpentine
is much too high. Regardless, TRS explosions are usually minor with minimum damage. Explosions
caused by turpentine can be catastrophic.
It should be noted that the flame propagation speeds listed in Table II are based on pure compounds
in pure air.
It should also be noted that while NCG systems are designed to handle the flame propagation speed of
TRS. It is not practical to design against the flame propagation speed listed for turpentine. For this
reason it is important to minimize the quantity of turpentine entering the NCG system.




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Ignition Sources
Three things must be present before an explosion can occur. The first two, namely a combustible
material (TRS) and sufficient oxygen, have already been discussed. The final item is an ignition
source.
Fans have often provided the ignition source for NCG system fires. This could be from static sparks,
hot spots on the casing if rubbed by the impeller, by a hot impeller shaft due to a bearing failure, or by
sparks created by foreign material hitting the impeller.
Another potential cause of fire is welding. Lines and vessels containing NCG should be clearly labeled
so that they are not accidentally cut or welded upon.
If welding is necessary, all lines or vessels thought to contain NCG should be thoroughly purged and
then checked for combustibles before welding is permitted. Care must also be taken to ensure that
welding sparks are not drawn in through vacuum relief devices.
As TRS is known to adsorb onto, and then desorb from metal walls, welding should be done
immediately after purging and testing for combustibles.
Static electricity can also provide a spark to ignite NCG. All lines and vessels containing NCG must be
properly grounded. Otherwise, a static charge may build up, resulting in a spark or static discharge.
Several explosions have been traced to this mechanism.
Turpentine can provide a second mechanism for static discharge. If turpentine vapor enters an NCG
system, such as during loss of water flow to a turpentine condenser, then some of that turpentine will
condense in the piping along with the water vapor also present.
As water and turpentine are immiscible, they will separate in the pipeline. If the interface between the
two immiscible liquids is subjected to a shear force, the friction between the two liquids can generate a
static spark that can ignite the turpentine.
Such a shear force can occur if these liquids enter a fan or cascade from a horizontal pipe run down a
vertical pipe run. Several explosions have been blamed on this mechanism.
LVHC NCG Systems
LVHC NCG comes from both continuous and batch sources. Continuous sources are continuous
digesters, turpentine recovery systems, multiple effect evaporators and foul condensate storage tanks.
Batch sources include batch digester blow heat recovery systems.
The NCG volumes to be collected vary greatly from mill to mill, and from time to time within each mill.
Table III shows the expected ranges of LVHC NCG flow from various sources. It is always best to
design on actual test data. If this is not available, then conservative values should be used. Line sizes
should be chosen to give a low pressure drop at peak flow conditions. If in doubt as to line size, go
larger in the collection lines and smaller for the lines near the incineration points.
Table 3. Concentrated NCG Volumes

SOURCE                                             FT3/TON PULP           M3/TONNE PULP

Batch Digester                                     100 - 200              2.6 - 5.2

Continuous Digester                                150 - 300              3.9 - 7.7

Turpentine System (Batch)                          40 - 80                1.0 - 2.0

Evaporators                                        50 - 200               1.3 - 5.2

N ote:    Volumes are actual at 60 °C and saturated with H2O.




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Collected NCG are typically at 60 °C (140 °F) or cooler. If the gases are hotter then consideration
should be given to cooling them before transporting them to reduce volume, turpentine content, and
moisture content.
Referring to Figure 1, LVHC NCG at Point E are outside the explosive range due to lack of oxygen.
Therefore, the system should be designed to prevent ingress of air into the system. This is done by
sealing all parts of the system to make them airtight.
However, a sealed system can be exposed to high pressure or vacuum under upset conditions. Most
storage tanks or evaporator hotwells are not designed to withstand pressure or vacuum. Therefore
they must be protected by both pressure and vacuum relieving devices in order to prevent damage to
the vessel during upset conditions.
Keeping the NCG outside the explosive range will insure a safe system at most times. However, during
upset conditions, especially during start-ups and shutdowns, it is possible for air to enter the system
and create a potentially explosive mixture.
For this reason it is necessary to eliminate all possible ignition sources during the design and operation
of the system. Thus steam ejectors are preferred over fans to motivate LVHC NCG.
The vacuum that an ejector pulls varies inversely with gas flow. Thus it is possible to pull a high
vacuum under low flow conditions. This may result in a vacuum breaker opening and allowing air into
the system. A pressure control valve is used on the ejector suction to overcome this problem.
Steam ejectors have additional advantages. It is possible to size the ejector and the piping
downstream of the ejector such that the steam flow to the ejector ensures a line velocity greater than
the flame propagation speed of TRS gases, even under low NCG flow conditions.
It should be noted again that it is impractical to design against the flame propagation speed of
turpentine. However, steam is an inert gas, and it is possible to design the ejector such that the steam
flow will help dilute the NCG to a point outside the explosive range.
Referring once again to Figure 1, if for some reason the NCG coming to the ejector is in the explosive
range represented by the darkened triangle, the steam flow may dilute the resulting steam - NCG
mixture to Point J. This puts the NCG back out of the explosive range.
To maintain the high NCG line velocity and the steam as an inert gas, it is imperative to keep the
steam in the system from condensing. This requires that all steam lines, and all NCG lines after the
ejector, be properly insulated to prevent steam condensation.
If a condenser or scrubber is used after the ejector, and the steam does condense, then some other
means of ensuring line velocity and dilution should be provided. If not, there is the potential for the
NCG to burn back into the transport line whenever the gases get into the explosive range.
Even if care is taken to keep the gases outside the explosive range, and care is taken to remove
ignition sources, there is still a remote possibility that a fire may occur. To minimize any potential
damage flame arresters should be installed at critical points. They are designed prevent the spread of a
fire and to minimize pipeline and equipment damage. Typically flame arresters should be placed at
each LVHC NCG source and at each incineration point.
To prevent damage from an explosion in the NCG line, line size rupture discs are installed. Typically,
rupture discs have been placed at each LVHC NCG source and near the incineration points. Similar to
the placement of NCG vents, care must be used on the placement of rupture discs to ensure that the
gases are vented in a safe location if a disc ruptures.
The collection of NCG from continuous sources is relatively straightforward. See Figure 2. The vessels
from which the gases are being collected must be kept airtight and properly sealed. Each vessel
should be adequately protected from pressure and vacuum and protected by a rupture disc and a
flame arrester.

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Special attention must be given to overflow lines on these vessels. To avoid the ingress of air they
must be sealed. The seal must be sufficient to ensure that pressure or vacuum excursions are relieved
through the pressure/ vacuum breaker rather than through the overflow line.




                                Figure 2. NCG Collection - Continuous Source




Additional care must be taken with the collection of NCG from batch digesters. Between blows there is
virtually no NCG flow. At the start of a blow there is a momentary high flow. As the blow progresses,
this flow decreases until it reaches zero at the end of the blow. In many cases, there is another small
peak NCG flow at the end of the blow when the digester blows clean.
In the past, one method to smooth these variations in flow was the use of a gasholder of either a
diaphragm or an inverted-bell type. These gasholders were expensive to build, dangerous to operate
and difficult to maintain. Gasholders are not used in modern NCG systems.
Batch digester blow heat recovery systems should be operated under positive pressure at all times,       to
prevent ingress of air. If air gets into the accumulator and condensers, it becomes part of the NCG      to
be collected. This results in a very high NCG flow and a decrease in condenser efficiency at the start   of
the blow, invariably leading to venting of steam and NCG to the atmosphere. Also, the addition           of
oxygen into the LVHC NCG system may create a mixture that is in the explosive concentration range.




Positive pressure is maintained in the system by use of pressure control between the primary and
secondary condensers. Padding steam is also added between blows to the accumulator, blow tank or
condensers to maintain a slight positive pressure. See Figure 3 for the arrangement.
It is essential that the blow heat recovery system be properly sized and operated. If this is not done,
the very best designed LVHC NCG system will not be capable of effectively collecting NCG from the
blow heat recovery system. Furthermore, it most likely will result in excessive oxygen being added to
the LVHC NCG system.



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Pressure relief is also required at the blow heat recovery system NCG source. This will prevent large
quantities of steam from entering the NCG system and overloading the ejector system if the blow heat
recovery condensers fail to perform.
In some systems batch gases are kept separate from continuous NCG sources until downstream of the
ejectors. This does not help collect from an improperly designed blow heat recovery system. This
adds expense and complication to the NCG system and therefore is not recommended. In a properly
designed system a single ejector can be used and gases are combined ahead of the ejector.
Figure 4 shows a concentrated NCG transport system.
Piping Design and Layout
Consideration in the design of NCG systems must be given to the condensates that form in the lines.
The NCG are normally saturated with water vapor and some water will condense in the lines.
Therefore, it is necessary to slope the lines so that the condensate formed does not build up and block
the flow of NCG through the line.
                                                Low point drains and separators are also required. The
                                                condensates formed are very foul and should be
                                                collected and treated. They can contain turpentine,
                                                which can accumulate and separate into a layer above
                                                the condensate.
                                               Special attention also needs to be paid to the layout and
                                               positioning of block valves at the incineration point on
                                               both the NCG lines and the steam purge lines. Any
  Continuous Gas                               condensate that collects behind these valves will be
  Batch Gas
                                               injected into the incineration device when the valve is
    Figure 4. LVHC NCG Transport               opened. This condensate will be instantly vaporized
                                               and could snuff out a kiln or incinerator flame, causing
                                               a vent to the atmosphere. In a rarer, but more extreme
case, it could cause a minor explosion, damaging the equipment.
Attention must also be paid to the condensate collection system. It must be designed so that it can
never be pressurized. If it does become pressurized, condensate can be forced back up the collection
lines, and into the incineration device, possibly leading to an explosion.
The motivating steam ejector should be as close to the point of incineration as possible. This results in
a majority of the system operating under vacuum. Thus if a leak does occur, it does not result in the
release of NCG and the possible gassing of personnel.
A separator or mist eliminator is located after the ejector to remove any water droplets and condensate
before the gases are injected into the incineration point.
The NCG then goes through a final flame arrester and into the kiln, boiler or incinerator for destruction.
If the kiln, boiler or incinerator are not available for incineration, the gases should be safely vented
upstream of the incineration point.
The final consideration is the vent lines. From time to time it will be necessary to vent the gases to the
atmosphere. All vent lines should be made as high as practically possible and should release the gases
straight up and away from buildings and platforms.




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NCG Scrubbing
Some mills have found it advantageous to scrub the TRS from the NCG before the gases are burned.
Scrubbing the TRS may be necessary to reduce SO2 emissions if the NCG are burned in a boiler, or an
incinerator. In mills where NCG are burned in lime kilns, the additional sulfur may contribute to ring
formation in the kiln. Scrubbing the NCG may minimize this problem.
The scrubbing medium is white liquor or caustic solution. The ionizible sulfur gases, H2S and CH3SH,
are easily and almost totally removed from the NCG by a chemical reaction. There is insignificant
removal of the non-ionizible gases, CH3SCH3 and CH3SSCH3.
When fresh caustic is used as the scrubbing medium it is recirculated to minimize chemical
consumption.
When hot white liquor is used for scrubbing, it is normally used on a once-through basis to minimize
changes to the liquor temperature and concentration, and to minimize fouling. The NCG is heated up,
and must be sent to a gas cooler to reduce the gas volume and reduce condensation in the line
following the scrubber.
To avoid the cooler, some mills have used cooled white liquor for scrubbing.       However, the heat
exchanger used to cool the white liquor is often subject to severe scaling.
Historically packed columns have been used for these scrubbers. Due to the fouling of the packing,
particularly when the scrubbing medium is white liquor, spray columns have more recently been
employed for this duty with minimal loss of efficiency.
Depending on the scrubbing media used and the NCG streams scrubbed, overall TRS removal
efficiencies from as low as 40% to as high as 99% have been reported, although overall TRS removal
of about 65% is typical.
HVLC NCG Systems
Sources of HVLC NCG are brownstock washer hoods and seal tanks, knotter hoods, liquor storage
tanks, brownstock storage tanks, slakers, mud filters, causticizers and black liquor oxidizers.
HVLC NCG is normally outside the explosive range due to low concentration of TRS (see point F on Fig.
1). HVLC NCG systems are typically designed to run at 25% of the LEL or less. HVLC NCG is normally
collected and transported in a common pipeline and motivated with a fan. If the flow is low enough, it
is still desirable to use an ejector. Typically an ejector is only practical on a partial system.
As with LVHC NCG, the total volume of HVLC NCG to be handled varies greatly. Flows of between 300
to 900 m3 per ton (10,000 to 30,000 ft3 per ton) of pulp are typical.
Brown stock washer hoods on vacuum drum washers are the largest single source of HVLC NCG. It is
necessary to properly seal the washer hoods to the vats, and to train the operators to keep the
inspection doors closed. Suppliers have developed better fitting hoods to keep the washer hood gases
to a minimum. Design volumes for modern, low flow hoods are 1,700 m3/hr per drum or less.
Newer systems recirculate filtrate tank vents back to the washer hoods in order to reduce gas volume.
Similarly, air for air doctors should be taken from the hood to avoid the additional ambient air in the
system.
Pressure washers and diffusion washers have much lower volumes of gas to handle.
HVLC NCG collection from large, flat top storage tanks must be carefully designed. In most cases these
tanks were not designed to take any pressure or vacuum. When they are tied into a collection system
they will be subjected to the system vacuum. These sources often require air sweeps to protect the
tankage, however the air sweeps add to the volume of gas to be collected.




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As with LVHC NCG, these gases are normally collected at 60°C (140°F) or cooler. In instances where
the HVLC NCG is hot and saturated with moisture, coolers are used to reduce their volume, moisture.
This has the added benefit of minimizing any turpentine content upstream of the fan if it is present.
Heaters can be used to raise the dilute NCG above the saturation temperature, thus drying them out.
Generally they are heated to a point where they are below 50% relative humidity. Having a dry gas is
necessary if the gas will eventually go through mild steel equipment such as ducting at the incineration
point.
Under no circumstances should LVHC NCG be added to HVLC NCG, especially a LVHC NCG stream that
may contain appreciable turpentine vapor.
As in the case of LVHC NCG systems, the pipelines for HVLC NCG systems should be properly sloped
and drained. A moisture separator should be installed upstream of the fan suction and near the
incineration point. A flame arrester is typically included near the incineration point.
A few mills monitor the concentration of combustibles in the HVLC NCG system to ensure that the
gases are always well below the LEL. If the combustible concentration rises above 50% of the LEL
during system upsets, then the system is vented or shutdown until the problem is corrected.




                                  Figure 5. HVLC System
      Figure 5. HVLC System



A system for handling dilute NCG is depicted in Figure 5.
Chip Bin Gas Systems
The gases from continuous digester chip bins are really HVLC NCG, however at times they can contain
large amounts of turpentine, VOCs, and TRS. They are typically treated to remove combustible
compounds before being transported to an incineration point. The chip bin gases are often handled as
a separate stream from the LVHC NCG or HVLC NCG. Most often they are added to the HVLC NCG
system after treatment, provided that the HVLC NCG flow is large enough to provide adequate dilution.
In the United States, the Environmental Regulations require the NCG from chip bins to be collected if
flash steam is used for steaming. Collection is not required if fresh steam is used for steaming.
Collection of chip bin NCG (CBG) is illustrated in Figure 6. Chips are steamed in the chip bin to remove
air before they enter the steaming vessel. This steam can drive volatile compounds, such as turpenes,
out of the chips. This situation is aggravated when too much steam is used, or if the steam breaks
through the chips due to low chip bin level.
Large quantities of turpentine vapor may be present in chip bin gas. One Kraft mill in the southern
United States that pulps pine has reported recovering up to 1 kg of turpentine per ton (2 lb/ton) of
pulp from the chip bin gas. Even when only terpene-free wood is being processed, the chip bin gases
require treatment due to the excessive volume and high TRS content that may be experienced when
steam “breaks through” the chip layer in the chip bin.




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                                Figure 6 . Chip Bin System


Proper treatment of chip bin gas includes cooling, condensing and scrubbing to remove as much
turpentine as possible. A typical system will include a separator to remove chip fines, followed by an
indirect cooler/condenser, followed by a packed column scrubber using cold water.
At temperatures as low as 30°C (87°F) and atmospheric pressure, the vapor pressure of the alpha-
pinene fraction of turpentine is high enough to create an explosive mixture. Therefore, dilution air
must be added to ensure a safe mixture is being transported. Fans should be avoided when the CBG is
handled separately from the HVLC NCG system.
Once the chip bin gas has been cooled, scrubbed and diluted, it can be treated as any other HVLC NCG
stream.
Stripper Off-Gas (SOG) Systems
In most cases the stripper off-gas is removed as a mixture of 50% methanol and 50% water, by
weight, at about 99°C (210°F). Due to the high temperature and water content of this stream, it must
be transported as a separate LVHC NCG system (see Figure 7).




The stripper system pressure is typically the motive force to deliver the gases to the incineration point.
It is necessary to insulate and heat trace the SOG line in order to prevent condensation.
It is also necessary to steam purge the entire line to remove all air before any methanol rich gas is
introduced. This is done by a steam makeup line.
Steam is added downstream of the stripper pressure control valve on flow control by measuring the
flow at the incineration end of the line. This ensures a minimum velocity in the line during start-up,
shutdown and low flow conditions. As the SOG is very concentrated and noxious, this avoids any
venting of the gases during normal operation of the system.
Burning NCG
In order for the TRS and HAPs in NCG to be properly destroyed by combustion, three conditions must
be met. These are:


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   •    Temperature of 870°C (1600°F)
   •    Residence time of 0.75 sec.
   •    Excess oxygen (O2) content of 3-4%
These should be considered basic conditions, and if any of them are exceeded, the others can be
reduced. That is, if the temperature is higher than 870°C (1600°F), then reducing retention time
and/or lowering the excess oxygen content will still provide good destruction. For example, some new,
high efficiency kilns are capable of meeting TRS emissions at excess oxygen content as low as 2%.
There are three places in a pulp mill where these conditions exist: the lime kiln, power boiler and
recovery boiler. A dedicated separate incinerator can also be installed to destroy NCG.
Lime Kiln
The lime kiln has traditionally been the first choice for burning NCG. It has the advantage that most of
the SO2 formed is absorbed on the lime mud and returned to the liquor cycle.
In many mills the lime kilns are overloaded and have low levels of excess O2.       An overloaded kiln is
less effective at TRS destruction.
Modern, high efficiency kilns are designed to run at about 0.5% excess oxygen. This is normally not
enough O2 to completely destroy TRS.
One drawback of using the kiln for TRS destruction is that, in some cases, burning NCG in the lime kiln
has contributed to, or accelerated, formation of kiln rings. This is particularly true when the NCG is not
burned in a steady manner and the mill experiences poor lime mud washing.
The LVHC NCG should be introduced into the kiln through a separate nozzle, mounted on the kiln hood,
to minimize any effect on the main flame. This nozzle must be cooled in order to prevent pre-ignition
of the gases while still in the nozzle. In addition, during NCG system shut down with the kiln
operating, the cooling jacket prevents heat damage to the nozzle. Air, steam and water have all been
successfully used as cooling media. NCG can also be injected through a dedicated port in the main fuel
burner of the kiln, although this is not recommended.




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The NCG absorbs light in the UV range and can give a false loss of flame signal if they pass in front of a UV
flame detector. Thus the NCG nozzle should be placed well away from the flame detectors and at a
location that minimizes any interaction with the main flame.
The HVLC NCG is not normally burned in the lime kiln due to its large volume. Smaller HVLC NCG
flows may be successfully substituted for primary or secondary air, or added through a dedicated
nozzle.
Power Boilers
Boilers have become the most popular incineration point for burning NCG. Due to the relative size of
the boiler it is a relatively trouble-free incineration point. However, burning NCG in a boiler will
increase the boiler SO2 emissions, creating another environmental concern.
Further, if the back end of the boiler is less than 160°C (320°F), then H2SO3 acid precipitation can
occur and severe corrosion may result.
Studies have shown that considerable amounts of SO2 are absorbed on the ash from coal or bark, if
either of these fuels is used in the boiler. This can reduce the SO2 emitted from the burning of NCG.
The LVHC NCG is introduced into boilers through separate nozzles, similar to those used in kilns. In
many cases existing ports can be used for the nozzles. In other cases it is necessary to bend some
water-wall tubes in order to place the nozzles.
The NCG flow may be split into two or more parallel lines before entering the boiler. This is done to
balance the flow of NCG into the boiler. However, if this is done, great care must be taken to ensure a
balance of flow to each nozzle, in order to prevent flame backs due to low gas velocity at one nozzle.
The HVLC NCG can be introduced into the boilers as part of the primary or secondary air, or if the flow
is small enough, through a dedicated nozzle. Care must be taken when adding or removing the HVLC
NCG flow to the boiler in order to prevent upsets in airflow to the boiler.
Recovery Boilers
The recovery boiler is theoretically the best place to destroy NCG as the sulfur gases are destroyed and
recovered as Na2S in the smelt. However, due to the nature of the recovery boiler and its importance in
the recovery cycle, the potential for catastrophic explosion due to water entering the unit during
operation, or explosive gas build-up during shut down, the recovery boiler has traditionally not been
used for NCG incineration.
The Black Liquor Recovery Boiler Advisory Committee (BLRBAC) has recently published “Recommended
Good Practice for the Thermal Oxidation of Waste Streams in a Black Liquor Recovery Boiler”. It is
available on the BLRBAC Website, www.blrbac.com. The guidelines outline separate methods for
burning LVHC NCG and HVLC NCG in recovery boilers. For LVHC NCG this includes the use of a
dedicated burner and burner management system with a pilot and auxiliary fuel. For HVLC NCG the
guidelines specify that the gases be cooled to 43°C (110°F) to remove moisture and then reheated to
at least 66°C (150°F) to result in a gas that is less than 50% relative humidity.
Several mills are now burning LVHC NCG and HVLC NCG in recovery boilers and there is a trend toward
accepting this practice.
At a few locations, stripper off-gases are being condensed to a liquid and blended with the heavy black
liquor to the recovery boiler.




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Incinerators
It is now quite common to burn NCG in a dedicated incinerator. The big advantage of the separate
incinerator is that it takes the gases out of a piece of operating equipment and eliminates the
complications associated with burning NCG in an operating unit in the mill. Most incinerators use
conventional fossil fuel burners, although some are self-sustaining with the heating value of the waste
gases being burned and do not require auxiliary fuel except at startup.
The major disadvantage of the incinerator is its high capital and operating cost. These units have been
installed as both the primary and secondary incineration points. The trend is away from using the
incinerator as the primary incineration point if it is a consumer of fossil fuel. Quick start-up units have
been developed as secondary incineration points without the high consumption of auxiliary fuels.
Due to the SO2 emission, in most cases the incinerator is followed by an SO2 scrubber, adding further
to the capital and operating costs.
Another byproduct of incineration is sulfuric acid mist (SAM) which can give high opacity. Some mills
have successfully added additional control devices, such as wet electrostatic precipitators, to reduce
SAM.
Recently, some mills have added package boilers to the incinerators to recover the heat from
incineration as low pressure steam. The relatively slower cooling of the gases in the boiler results in
higher sulfuric acid formation.
Stripper off-gas, due to its high MeOH content, has a very high fuel value and can be used as a primary
fuel for incinerators. This reduces the incinerator operating cost by supplying most of the fuel
requirement. However, SOG also contains ammonia which can increase NOx emissions from the
incinerators.
If the HVLC NCG flow is reasonably low, it may also be burned in the incinerator. In some cases it is
substituted for combustion and cooling air to reduce fuel requirements.
Regenerative Thermal Oxidizers
Regenerative Thermal Oxidizers (RTOs) are viable devices for incinerating HVLC NCG. These units
generally have a much lower installation costs than other incineration alternatives. They also have very
low operating costs and very high uptime. Several mills are successfully using RTOs to incinerate HVLC
NCG.
Other Considerations
Several other factors affect the choice of an incineration point for NCG. These are usually site specific.
The age, size and operating condition of the locations available are important.
As a general rule, the higher the capacity of the location selected the better as the NCG will have less
impact on the operation of the larger equipment.
The uptime of the equipment used to burn NCG is very important. A boiler or kiln that is off line
frequently, or for long periods of time, is a poor choice. The Environmental Regulations in the United
States require an uptime of 99% for burning LVHC NCG. It is virtually impossible to do this unless
there are two points for NCG incineration.
The relative locations of the NCG sources and the point of incineration are also important. This affects
the length, and hence the cost, of the pipe line required to carry the gases. Generally shorter piping
runs are advantageous.




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Impact
Installation and operation of NCG systems has an impact on the rest of the mill operation. The largest
impact usually comes from the digester blow heat recovery system.
It is necessary for the blow heat system to collect and condense all the blow steam. Consequently,
steam and methanol that were previously vented are now recovered as hot foul condensates. The
recovered heat must be reused or discarded.
Many mills are now using recovered blow heat to heat water or pre-evaporate black liquor, while others
install cooling towers to remove the excess heat. Also, the methanol collected can increase the BOD
load to the effluent treatment system forcing mills to add aeration capacity or install foul condensate
stripping systems.
Capturing and burning the reduced sulfur gases in the kiln or recovery boiler, or scrubbing (with white
liquor) the TRS gases or the SO2 formed by incineration, will increase the liquor sulfidity. That may
upset the mill sulfur balance, necessitating a change in mill makeup chemicals away from saltcake and
toward caustic soda or sodium carbonate.
It may be necessary to update and improve the operation of the turpentine recovery system and the
multiple effect evaporators in order to make them compatible for NCG collection. For instance, the
practice of bleeding air into the evaporator vacuum system in order to control vacuum is not
compatible with NCG collection.
Finally, the places where NCG is burned can no longer be looked upon only as production devices. They
must also be considered pollution control devices. It is not uncommon for a mill to run a kiln or a
boiler strictly for the purpose of burning NCG, even when the production capacity is not needed.
Conclusion
In order to reduce odorous and hazardous air pollutants from Kraft pulp mills, environmental
regulations require that noncondensible gases containing TRS and HAPs be collected and incinerated.
These gases are very corrosive, highly toxic, and if mixed with air, potentially explosive.
Consequently, great care must be taken in the design, construction, operation and maintenance of
these systems. Fortunately, the technology exists to build NCG systems that are safe, efficient and
reliable.
Acknowledgement
This paper was originally authored by Mr. Tom Burgess. He had been the instructor for the TAPPI
Kraft Recovery Short course since 1986, before retiring in 2005.




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1                                     CERTIFICATE OF SERVICE

2           I hereby certify that on August 12, 2020, I caused the foregoing FIRST AMENDED

3    COMPLAINT to be filed with the Clerk of the Court using the Court’s electronic filing system

4    which will send notification of such filing to the person(s) listed below.

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